Case 2:19-cv-04981 Documenti1-1 Filed 06/07/19 Page 1lof46 Page ID#:7

EXHIBIT A
Case 2:19-cv-04981 Document1-1 Filed 06/07/19 Page 2of46 Page ID #:8

RECEIVED +N Vil & Ve 1G v aS

Electranicatly FILEO dy Superior dlAy Bid oiZ. GHGny of Lag Angeles on 02/49/2019 01-18 eM eee R Carter, Executive piagr/clerk of Court, by R, Perez, Deputy Clerk

 

     

 

The Neiman Marcus Gr. scocuanmeeeanetepnm si ts mm ene AOD
Legal Departmen® MONS FOR GOURT USE ONLY
TCT OTN JUDICIAL) {SOLO PARA USO O€ LA CORTE)
NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO):

NEIMAN MARCUS GROUP, INC. and Does 1 to 100

YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEMANDANDO EL DEMANDANTE):

MARYAM HALPERN

 

 

 

ard You have been sued. The Sourl may decide against you wilhoul your being heard unless yourraspond within 30 days Read the Information
elaw.

You have 30 CALENDAR DAYS afler this summons ond fega! papers are served on you to file 2 veiitan response al (his court and have a copy
served on the plainilff, A lelier or phone call will not prolect you. Your writlen response must be In propor tegal forn if you want the court to hear your
case. There may be a coud farm thal you can use for your raspanse. You can find these courl forms and more information al the California Couris
Online Self-Help Center (awww.courtinfo.ca.gov/saiiheip), your counly law library, of (he courthouse nearest you. if you cannol pay tha fiting fae, ask
the courl clerk for a fee waiver form. H you do nol file your response on time, you may lose the case by defaull, and your wagea, monay, and properly
may be taken wilhaul further warning from the court.

There ate other lege! requirements. You may want to call en altorney righ away, If you do not Know un allorney, you may wal la call an atlomey
roiatral service. If you cannol affor! an alitomey, your may be aliglble for tras lagul services om a nonprofit legal services program. You can lncate
Ihese nonprofit groupe al the California Legal Servicus Web site (www /enhelpeuiiforia.arg), he California Gourls Oniine Seil-Help Center
(wine courtinio.ca.govéselfhalp), or by contaciing your local court or county har aasociatinn. NOTE: The court has a siatulory fen lor wolved fees and
Gosis on any settiemant or arbitration award of $16,000 or more ina civil nase. The cours llen musl be pald before [he court will Jismilas [he case.
No te han demandads. Sino rasponde dentro ce 30 dias, ta carle punde decidir en au contre ain eacucher su version. Lea ia informacion e
coniinuacian

Yiene 30 DIAS OF CALENDARIO daspuds de que te entrequen esta citacion y papeles jegeles para presenter una respuesia por escrito en esin
corte y hacer que se entregue una copia a! demandante, Una Cuda 0 une Kameda ieleténiae no lo projugen, Su respueste por escrito tlane que ésiar
en formate jegat coecto si desea que proces x) Caso er 1a Code. Es posibie que haya un fornvulario que usied pueda usar pare su respuesttt
Puade onconirer estos formularios cv le carte y atts informacion on ¢f Carita de Ayuda de las Cortes de Catifornia (vew.sucorte,ca.gay), on la
pidiiotece de layes de su condado o en le corle que fe quede mas cerca Si no puede pagur ia cuota de presentaciin, pkia al secretano de ia cane
que fe dé un lormulado de oxencion de pago de cueins 51 presenta zu cospuesia a tiempo, pueue perder ef case por incumplinients y la canto le
poura quifer su suelo, dinero y lienes sin Mins paventansla,

Hay otros requisites ieyales, Es recomendabie que Hanie a un abogada inmediaiamente, Si no cenoee a un abogedo, puede Samar a uo senagis da
remisién @ abogavos. Si no puede pagar A an abogada. es positive que curnipla con tos requisites pars oblener Servicios legates gralullos we 10
programa de servicios leguies sin lines te iucre. Puede encontrar estos grupos sin fines dé lucro en xl sitio wal do Caltornla Legal Services,

(ww, lawhelpcalifernia.org), en ef Cont de Ayuciti Ge is Cortes dé Calilornia, fvenw sucorle.ca.qov) @ ponigndose an contacio con la corte 0 et
colegio de abagados locales. AVISO: Por ley, ia corte tune deredha a reciunas las cuales ¥ fas COSIOS BxENIOS Ror impaner un grayernen sabes
Gutiquier recuperacién de $70,000 9 mas de viior recinida mediante un acveria & unk concesion de arbilraje en ua case de derecho civil. Tene que

pagar 61 gravamen de in corte antes de que ln cone pruedé Jeseular ol 6bsa,

 

GASE NUMBER:

The name and address of the court Is: Cia ono)

(EI nombra y direceién de ta corte es}: {.os Angeles County Superior Court
111 North Hill Street Los Angeles CA 90012

 

 

 

The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
(E} nombre, la direscién y ef atmnero de leléfono del abogado del demandante, o del demandante que no tiene abogado, es):

Jesse L, Halpern The Halpern Law Firm 26500 W. Agoura Rd., Suite 2!2 Calabasas CA 91302(81 8} 785-5999
Sherri R. Carter Executive Officer / Clerk of Court peputy
02/41/20 ark, ' 08
rectal vents eosuarel Ricardo Perez (Adjunia)
(For proof of sarvicé of this summons, use lroot of Sanace of Summons form POS-070).)
{Para prueba de enirega de esta citation use el formulerio Proof of Service of Summons, (POS-010)).
—, NOTIGE TO THE PERSON SERVED: You are served

1, (C7) as an individual defendant.
2. [7] as the person sued under the fictitious name of (specify):

3, p< on behalf of cova INA WU Hacus GROUP, Ine.

under: < CCP 416.10 (corporation) tC] CCP 416.60 (minor)
[""] CCP 416.20 (defunct corporation) f] CGP 416.70 (conservalee)
{ CCP 416.40 (association of partnership) [__} CCP 416.90 (authorized parson)

I

 

           

 

“| other (specify):

—_—_ wmv mmernmemn-! 4 [1 by personal delivery on (dale):

Fo eter canons — ~ SUMMONS —— Goda of Civil Procedure §§ 412 20, 465
wiw,.courlinio.ce gov

Judicial Cound of Calltomie
SUM-100 [Rav, uply 1, 2008}

_ Page tof 4

 
Case 2:19-cv-04981 Document1-1 Filed 06/07/19 Page 30f46 Page ID#:9

Electronically FILED by Superior Court of Califomla, County of Los Angeles on 02/1 Mead ere fon a R. Carter, Executive Officer/Cterk of Court, by R. Perez,Deputy Clerk

f " ¥
Assigned for all put. 8 to: Spring Street Courthouse, Judicial Officer. Steph = soarvilch
PLD-PI-001

FOR COURT USE ONLY

 

| ATTORNEY OR P WITHOUT ATTORNEY pindo, Slate Ber number, end aderare):

Jesse L. Halpern - State Bar No. 37962
The Halpern Law Firm
26500 W. Agoura Rd., Suite 212
Calabasas CA 91302
TELEPHONE NO; (818) 785-5999 PAXNO. (Opitoney: (8 ] 8) 609-1342
e-wait ADORESS jonny: jIh@halpernlawcorp.com
ATTORNEY FOR (Nemes MARYAM HALPERN
SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
smeevaooress: 111 North Hill Street
MAILING AODRESS:
cirvannzipcove: Los Angeles CA 90012

BRANCH NAME:

PLAINTIFF: MARYAM HALPERN

 

 

DEFENDANT: NEIMAN MARCUS GROUP, INC.

[7 poesito 100

COMPLAINT—Personal injury, Property Damage, Wrongful Death
(__} AMENDED (Number):

Type (eheck all that apply):

([_] MOTOR VEHICLE OTHER (specify): Premises Liability
[~~] Property Damage [| Wrongful Death
C7] Personal Injury {__] Other Damages (specify):

Jurisdiction (check all that apply):
(_)) ACTION IS A LIMITED CIVIL CASE

Amountdemansded ([__] does not exceed $10,000
(__] exceeds $10,000, but does not exceed $25,000

(7) ACTION IS AN UNLIMITED CIVIL CASE (exceeds $25,000)
{__] ACTION IS RECLASSIFIED by this amended complaint

CI from limited to unitmited
] from untimited to limited

1, Plaintiff (name or names): MARYAM HALPERN
alleges causes of action against defendant (name or names):

NEIMAN MARCUS GROUP, INC.
2. This pleading, including attachments and exhibits, consists of the following number of pages: 4

3. Each plaintiff named above is a competent adult

a. [__] except plaintiff (name):
(1) (2) a corporation qualified to do business in California

(2) [__] an unincorporated entity (describe):
(3) [7] a public entity (describe):
(4) CJ aminor ((_) anadult

(a) ((_] for whom a guardian or conservator of the estate or a guardian ad litem has been appointed
(b) [__] other (specify):

(5) [C7] other (specify):

b. (__] except ptaintlft (name):

(1) [7] a corporation qualified to do business in California

(2) (7) an unincorporated entity (describe):

(3) [[_) a public entity (describe):

(4) [7] a minor [_] an adult

(a) ((_] for whom a guardian or conservator of
(b) [__] other (specify):
(5) [_) other (specify):

 

 

CASE NUMBER:

 

 

 

 

the estate or a guardian ad litem has been appointed

 

(J information about additional plaintiffs who are not competent adults is shown in Atlachment 3. page tata
Fam pgrved i Opal Ue CONMPLAINT—Personal injury, Properly Co Of Ci Ee eeusih ce pov
Damage, Wrongful Death

PLD-PIO01 (Rev, Janvary 1, 2007)
Case 2:19-cv-04981 Document 1-1 Filed 06/07/19 Page 4of46 Page ID #:10

 

 

 

 

 

~ o-~
PLO-PI-004
SHORT TITLE: GASE NUMBER:
HALPERN vs. NEIMAN MARCUS GROUP, INC.
4. [) Plaintiff (name):
Is doing business under the fictitious name (specify):
and has complied with the fictitious business name laws.
5, Each defendant named above Is 9 natural person
a, [7] except defendant (name): NEIMAN MARCUS  c. [[7] except defendant (name):
(1) [5] a business organization, form unknown (1) (_) a business organization, form unknown
(2) a corporation (2) [__} a corporation
(3) [-_] an unincorporated entity (describe): (3) (} an unincorporated entity (describe):
(4) [] a public entity (describe): (4) (_] a public entity (describe):
(6) [__] other (specify): (8) [[7] other (specify):
b. [77 } except defendant (name): d. [__] except defendant (name):
(1) [] a business organization, form unknown (1) (_] a business organization, form unknown
(2) CC] acorporation —- (2) C_] a corporation
(3) [-_] an unincorporated entity (describe): (3) (__] an unincorporated entity (describe):
(4) [J a public entity (describe): (4) [77] a public entity (describe):
(5) [_] other (specify): (5) [7] other (specify):
[__] Information about additional defendants who are not natural persons is contained in Attachment 5.
6. The true names of defendants sued as Does are unknown to plaintiff.
a. Doe defendants (specify Dos numbers). itol00 were the agents or employees of other
named defendants and acted within the scope of that agency or ernployment,
b, Doe defendants (specify Doe numbers): | tol00 are persons whose capacities are unknown to
plaintiff,

7. [C) Defendants who are joined under Code of Civil Procedure section 382 are (names):

6. This court is the proper court because

. [] atleast one defendant now resides In its jurisdictional area.

. [] the principal place of business of a defendant corporation or unincorporated association is in Its jurisdictional area,
: Injury to person or damage to personal property occurrad In its jurisdictional area.

. {__] other (specify):

anon

9. [__] Plaintiffls required to comply with a claims statute, and
a. ((] has complied with applicable claims statutes, or
b. [] is excused from complying because (specify):

 

PLD-P1.001 jRev, January 1, 2007) COMPLAINT—Personal Injury, Property Pape 2 old
Damage, Wrongful Death
Case 2:19-cv-04981 Document1-1 Filed 06/07/19 Page 5of46 Page ID #:11

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o- om

PLD-PI-001

 

SHORT TITLE: CASE NUMBER:
HALPERN vs. NEIMAN MARCUS GROUP, INC.

 

 

 

 

40. The following causes of action are attached and the statements above apply to each (each complaint must have one or more
causes of action attached):

. [] Motor Vehicle

. [__] General Negligence

C_} Intentione! Tort

. CJ Products Liability

. Cx] Promises Liability

(J Other (specify):

ree@eaox»°g

11, Plaintiff has suffered

. CZ) wage loss

. [J loss of use of property

(G71 hospital and medical expenses
. general damage

. (__] property damage

(71) lose of earning capacity

. {_] other damage (specify):

eroaggmn

12. [_] The damages claimed for wrongful death and the relationships of plaintiff to the deceased are
a, (__] listed In Attachment 12.
b. (_] as follows:

43, The relief sought in this complaint is within the Jurisdiction of this court.

44, Plaintiff prays for judgment for costs of sult; for such rellet as Is fair, just, and equitable; and for

a. (1) (7) compensatory damages
(2) [J punitive damages
The amount of damages |s (in cases for personal Injury or wrongful death, you must check (7):

(1) according to proof
(2) [_] in the amount of: §

45. (_] The paragraphs of this complaint alleged on Information and belief are as followe (speciy paragraph numbers):

Date: 2/11/2019 i pAA—r~
Jesse L. Halpern »

{TYPE OR PRINT NAME) priswnrune OF PLAINTIFF OR ATTORNEY)

PLO-PI.DO4 [Rev, January 4, 2007} COMPLAINT—Personal Injury, Property
Damage, Wrongful Death

Paga 3o0f 3
Case 2:19-cv-04981 Document1-1 Filed 06/07/19 Page 6of46 Page ID #:12

 

 

 

 

io ~~
PLD-PI-001 (4
SHORT TITLE: CASE NUMBER:
HALPERN vs, NEIMAN MARCUS GROUP, INC.
First SS SCCAUSE OF ACTION—Premises Liability Page 4

(number)

ATTACHMENT TO [7] Complaint ([_) Cross - Comptaint
(Use a separate cause of action form for each cause of action.)

Prem.L-1. Plaintiff (name): MARYAM HALPERN
alleges the acts of defendants were the legal (proximata) cause of damages to plaintiff.
On (date): 12/23/2017 plaintiff was injured on the following premises In the following

fashion (dascription of premises and circumstances of injury):

The injury occurred at the premises of NEIMAN MARCUS GROUP, INC. located at 6550
Topanga Canyon BI Canoga Park CA. Plaintiff was shopping at the defendant department store
and while using the bathroom slipped and fell due to the dangerous condition of the floor.

Prem.L-2, Count One—Negligence The defendants who negligently owned, maintained, managed and
operated the described premises were (names):

NEIMAN MARCUS GROUP, INC.

C7) does |} to 100

Prem.L-3. [J count Two--Willful Failure to Warn [Civil Code section 846] The defendant owners who willfully
or maliciously failed to guard or wam against a dangerous condition, use, structure, or activity were
(names):

 

C7) Does to
Plaintiff, a recreational user, was C2) an invited guest [_) a paying guest.

Prem.b-4. (] count Three—Dangerous Condition of Public Property The defendants who owned pubiic property
on which a dangerous condition existed were (names):

[J] Does to

a. (] The defendant public entity had () actus! C_) constructive notice of the existence of the
dangerous condition in sufficient time prior to the injury to have corrected it.
b. ([_] The condition was created by employees of the defendant public entity.
Prem.L-6. a. (7) Allegations about Other Defendants The defendants who were the agents and employees of the
other defendants and acted within the scope of the agency were (names):

NEIMAN MARCUS GROUP, INC.

CY] Does J to 100

b. [_] The defendants who are liable to plaintiffs for other reasons and the reasons for thelr llabllity are
(7) deseribed in attachment Prem.L-5.b [__] as follows (names):

 

Page tort
Fomn Approved for Optional Ute GAUSE OF ACTION—Premises Liability Code of it Procadur,§ 428.12

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PLO-Pi001{4) (Rev, Jenuery 1, 2007]

 
Case 2:19-cv-04981 Document1-1 Filed 06/07/19 Page 7 of 46 Page ID #:13

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Rina, race
The Halpern Law Firm
26500 W. Agoura Rd., Suite 212
aseeee ch 2 Gi 8) 785-5999 818) 60
TELEPHONE NO; o FAX NO. 9-
ATICANEY FOR qemey i YAM HALPERN (818) 1342
SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
Srnec appress: 11] North Hill Street
MAILING -AODRESS:
city anpzipcone: Los Angeles CA 90012
BRANCH NAME:
CASE NAME:
HALPERN vs. NEIMAN MARCUS GROUP, INC,
CIVIL CASE COVER SHEET Complex Case Designation GASE NUMBER:
Amount 4 tamoant [3 counter [7] Joinder
demanded demanded Is Filed with first appearance by defendant WUOGE:
exceeds $26,000) $25,000 or less) (Gal. Rules of Court, rule 3.402) EFT:
ltams 1-6 below must be completed (see insiruclions on page 2).
41, Check one box below for the case type that best describes this case:
Auto Tort Contract Provisionally Complex Civil Litigation
Auto (22) CI Breach of contractwarranty (06) (Cal. Rules of Court, rulas 3.400-3,403)
Uninsured motorist (46) {_] Rule 3.740 collections (09) c] Antitrus/Trade regulation (03)
Other PIPO/AWD (Personal Injury/Property CJ Other collections (09) C_] Construction defect (10)
Damage/Wrongtul Death) Tort (_} insurence coverage (18) [md Mass tort (40)
Asbestos (04) (1 other contract (37) [_} Securities itigation (28)
Product liability (24) Real Property {__] EnvronmentalToxic tort (30)
Medical malpractice (45) ([~) Eminent domair/inverse Insurance coverage claims arising from the
[¥.] other PvPDAWD (23) condemnation (14) above tied provisionslly complex case
Non-PUPDIWD (Other) Tort [=] Wronglul eviction (23) types (49)
Business torvuntair business practice (07) (J Other real property (28) Enforcement of Judgment
Cc] Civil righis (08) Uniawful Detalner Cc Enforcement of judgment (20)
Defamation (13) Commercial (31) Miscellaneous Civil Complaint
Fraud (16) (7) Residential (32) [J rico (27)
L_.| Intellactual property (19) | Drugs (38) [_} other complaint (not specified above} (42)
Professional negligence (25) Judiciat Review Miscellaneous Civil Petition
[|_| Other non-Pi/PDIWD tort (35) [J Asset fortaitue (08) [_] Partnership and corporate governance (21)
Employment L__} Patton re: arbitration award (11) [—} Otner petition (not specified above) (43)
Wrongful tarmination (36) [J] wait of mandate (02)
Other employment (18) [__] Other judistal review (39)

 

 

2. Thiscasa L_tis [LY Jisnot complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
factors requiring exceptional judicial management:

a. | Large number of separately represented parties d[_] Large number of witnesses

b.[_] Extensive motion practice raising difficultor novel =e. [1] coordination with related actions pending in one or more courts
issues that will be time-consuming to resolve in other countlas, states, or countries, or In a federal court

oc. (—] Substentialamount of documentary evidence t. () Substantial postjudgment judicial supervision

Remedies sought (check ail that apply): a.Ly} monetary b.[__] nonmonetary; declaratory or injunctive relief ¢. [_]punitive
Number of causes of action (specify): One - Premises Liability

Thiscase [_lis [y¥Jisnot aclass action suit
If thare are any known related cases, file and serve a notice of related case. (You ve

Dok os

 
   
  

Date: 2/11/2019
Jesse L. Halpern

  

(YPE OR PRINT MARE) worcE
Ee

¢ Plaintiff must file this cover sheet with the first paper filed in the action or proceeding ofa small claims cases or cases filed
under the Probate Code, Family Code, or Welfare and Institulions Code), (Cal, Rules of Cour, rule 3.220.) Fallure to file may Tesult
In sanctions. : .

® File this cover shest in addition to any cover sheet required by local court rule.

* If this case [s complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
other parties to the action or proceeding.

© Unless this Is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only. eat

Manosiory , rules 2.90, 3.220, 3.400-3,493, 3.240,
"fetal Goxmed of cattane CIVIL CASE COVER SHEET oe Ra Ose es lanai antasvoion a At6

CH-010 [Rev. July 1, 2007] swrncogrtlto.ca pov

 

 
Case 2:19-cv-04981 Document1-1 Filed 06/07/19 Page 8o0f46 Page ID #:14

ao ao)

INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET

To Plaintifia and Others Filing First Papers. If you ase filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheel contained on page 1. This Information will be used to compile
statistics about the types and numbers of cases filed. You mual complete Items 4 through 6 on the shest. in item 1, you must check
ore box for the case type thal best describes the case. If the case fits both a general and a more specific type of case listed In fem 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you In completing the sheet, examples of the cases that belong under each case type in llem 4 are provided below. A cover
sheet must be filed only with your Initial paper. Failure te file 5 cover sheet with the first paper filed in a civil case may subject a party,
lis counsel, or both to sanctlons under rules 2.50 and 3.220 of lhe California Rules of Court,

To Partles in Rule 3.740 Collectlons Cases. A “collections case" under rule 3.740 is defined as an action for racovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or monsy was acquired on credit. A collections case does not include an action seaking the following: (1) tort
damages, (2) punitive damages. (3) recovery of real property, (4) recovery of personel property, or (5) a prejudgment writ of
attachment. The Identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3-740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740,

To Partles in Complex Cases. In complex cases only, parties must also use the Civi! Case Cover Sheet to designate whether the
case is complex. if a plaintiff believes the casa is complex under rule 3,400 of the Callfornia Ruies of Court, this must be Indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet musi be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a Joinder in the
plaintiffs designation,  counter-cesignation that the case is not complex, or, If the plaintiff has made no designation, a designation that

CM-010

the case Is complex.

CASE TYPES AND EXAMPLES
Auto Tort Contract Provisionally Complex Civil Litigation (Cal.
Auto (22}-Personal injury/Property Breach of CantraclWarrenly (06) Rutes of Court Rulas 3.400-3,403)
Damage/Wrongful Death Breach of Rental/Lease Antltrust/Trade Regulation (03)
Uninsured Motorist (46) (if the Contrac! (not unlaw?u! delainer Constructlon Defact (10)
case involves an uninsured or wrongtul eviction) Claims involving Mass Forl (40)
motorist claim subject to ContractiWarrenly Breach—Selfer Securities Litigation {28}
arbitration, check this tem Plaintiff (not fraud or negligence) Environmental/Toxte Tort (30)
insiead of Auta) Negligent Bresch of Contracl’ Insurance Coverage Clalms
Other PIPDIWD (Personal Injury! Warranty {arising from provisionally complex
Property Damage/Wrongful Deati:) Other Breach of ContracUWarranly case lypa listed abova) (41)
Tort Collectlons (¢.9., monay owed, open Enforcoment of Judgment
Asbestos (04) book accounts) (08) Entorcement of Judgment (20)
Asbestos Property Damage Collection Case~Setier Piainilit Abstract of Judgment (Qui of
Asbestos Personal injury Other Promissory Nota/Collections Counly}
Wrongful Oeath Case Confession of dudgmant (ncn-
Product Liability (not esbestos or insurance Coverage (not provisionally demesite ratations)
toxievanvironmental} (24) complex) (18} Sister State Judgment
Medical Matprective (45) Auto Subrogation Administrative Agency Award
Medical Malpractice Other Coverage (not unpaid taxes)
Physicians & Surgeons Other Contact (37) Patton Cert Reeve Ota oF
Other Professional Health Care Contractual Fraud udgment on er \ ert
Malpractice neat Other Contract Dispute Other Enforcement of Judgme
ther PYPDAVD eal Property .
Ol nate Wiel (eg. tho E mint 5 emaivvarse we Clvil Complaint
and falt ondemnalion (14
intentional Body Injury/PDIWD Wronglul Eviction (33) Orne ove aay {not specified

(e.g., assaull, vandalism)

Intentional Infilction of
Emotlonal Distress

Negilgent infliction of
Emotional Distress

Olter PHPDAND

Non-PUPOMWD (Other) Tort
Business Tort/Uniair Business
Practice (07)

Clvil Rights (6.9., discrimination,
telse atrest) (not cit
herassmand (08)

Defamation (¢.9., slander, libel)

(13)

Fraud (18)

Intellectual Proparty (19)

Professional Negilgence (25)
Legal Malpractice

Other Professional Malpraclica —

{aot medical or egal
Other Non-PI/PD/WD Tort (35)
Employmont
Wrongful Termination (36)
Other Employment (18)

CMO1G Rov, July 1, 2007]

Other Real Property (e.9., quiet title) (26)
Writ of Possession of Real Properly
Mortgage Foreclasure
Quiet Titte
Other Real Property (not eminent
domain, fandiordftenant, or
foreclosure)

Unlawful Oetalner

Commercial (31)

Residenila! (32)

Drugs (36) {if the case involves iiegal
drags, check this tem; otharvise,
report as Commercial or Residential)

Judicial Review

Asset Forfaltura (05)

Petition Re: Arbitration Award (11)

Writ of Mandala (02)
Writ-Adminisiralive Mandemus
Writ-Moendemus on Limited Court

Case Mater
Wait-Other Limited Gourt Case
Review

Other Judicial Review (39)

Review of Health Officer Order
Nollee of Appeal—Labor
Gormmissioner Appeals

CIVIL CASE COVER SHEET

Qeclaratory Relief Only
injuncilve Relief Only (non
harassment)
Machanies Lisn
Olher Commerclal Complaint
Case (non-torinon-complex)
Other Civil Complaint
(non-torUnon-complex)
Miscellaneous Civil Petition
Partnership and Corporate
Governance (21)
Other Petition (not specified
above) (43)
Civil Harassment
Workplace Violence
EtderiDependent Adult

Abuse
Elgction Conteal
Patilion for Name Change
Petition for Rellef From Late
Clalm
Other Civil Petition

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Case 2:19-cv-04981 Document1-1 Filed 06/07/19 Page 9of46 Page ID #:15

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SHORT TITLE: HALPERN vs. NEIMAN MARCUS GROUP, INC, CASE NUMBER

 

 

 

CIVIL CASE COVER SHEET ADDENDUM AND
STATEMENT OF LOCATION
(CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

 

 

This form Is required pursuant to Local Rule 2.3 in all new clvil case fillngs In the Los Angeles Superior Court.

 

Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
Column A that corresponds to the case type Indicated in the Civil Case Cover Sheet.

Step 2: In Column B, check the box for the type of actlon that best describes the nature of the case.

Step 3: in Column C, circle the number which explains the reason for the court filing location you have

 

 

chosen.
Applicable Reasons for Choosing Court Filing Location (Column C) |
1, Class actions must be filed In the Stanley Mosk Courthouse, Central District, 7. Location where petitioner resides.
2, Permissive filing In central district. 6, Location whereln defendant/respondent functions wholly.
3. Locallon where cause of actlon arose. 9, Location where one or more of the parties reside.
4. Mandatory personal injury filing in North District. 10, Location of Labor Commissioner Office.

41, Mandatory filing locatlon (Hub Cases - unlawful detainer, limited
non-collection, limited collection, or personel Injury).

6, Location where performance required or defendant resides.

6. Location of property or permanently garaged vehicle.

 

 

 

   

 

 

 

 

 

 

 

 

 

 

Auto (22)
£5
qr Uninsured Motorist (46) C AT110 Personal Injury/Praperty Damage/Wrongful Death — Uninsured Motorist j 1, 4, 11
EE
Asbestos (0 © A6070 Asbestos Properly Damage 4,11
4
Ps sbesios (04) C1 A221 Asbestos - Personal Injury/Wrongful Death 4,44
6
e = Product Liabitily (24) DO AT260 Product Liabilily (not asbestos or toxic/environmental) 1,4, 11
oa
=f a 0 A7210 Medical Malpractice - Physicians & Surgeons 1,4, 11
22 Medical Malpractice (45) . 1.444
a 8 O A?240 Other Professional Heallh Care Malpractice oS
£
zB = @ ATZ50 Premises Liabillly (e.9., slip and fall)
a 3 14.14
a Other Personal \ lly | ful Death
- z Injury Property O A7230 Intentional Bodily Injury/Property Damage/Wrongfui Death (e.g. 14,14
é & Damage Wrongful asgaull, vandallgm, etc.)
Death (23) © AT270 intentions! infliction of Emotione! Distress a 1414
O AT220 Other Personal Injury/Property Damege/Wrongful Death 1,4, 11
. Local Rule 2.3
LASC CIV 108 Rev, 12/18 CIVIL CASE COVER SHEET ADDENDUM ocal Rule
AND STATEMENT OF LOCATION Page 1 of 4

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SHORT TITLE: HALPERN vs. NEIMAN MARCUS GROUP, INC.

CASE NUMBER

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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ei Defamation (+3) DT A6010 Defamation (slanderilibel) 4.2.3
os
= . Fraud (16) 1D A8013 Fraud (no contract) 1,2,3
aS © AS68017 Legal Metpractice 1,2,3
& 3 Professional Negligence (26)
Z 5 DD A6O50 Other Professional Malpractice (not medical or legal) 4,2,3
6
2
Other (35) © A6025 Other Non-Personal Injury/Property Damage tort 1,2,3
- Wrongful Termination (38) O A8037 Wrongful Termination 12,3
' DO A6024 Other Employment Complaint Case 1,2,3
Other Employment (15)
& O A8109 Labor Gommissioner Appeals 10
© A6004 Breach of Rental/Lease Contract (not unlawiul datainer or wrongful 2.6
eviction) ,
Breach of Contact! Warranty OD aAs008 ContraclWaranly Breach -Seller Plaintiff (ne fraud/negligence) 25
(not Insurance) DD AS019 Negligent Breach of ConiractWarranty (no fraud) 1.2.5
© A6028 Other Breach of ContraclWarranty (not fraud or negligence) 125
8 1 A8002 Collections Case-Seller Plaintiff 6,6, 11
§ Collections (09)
DO As012 Other Promissory Note/Collections Cese 5,11
8 DU A034 Colleclions Case-Purchased Debi (Charged Off Consumer Debt 6,6, 11
Purchased on or afier January 1, 2014)
Insurance Coverage (18) CO A6015 Insurance Coverage (not complex) 1,2,5.8
D As009 Contractual Fraud 1,2,3,5
Other Contract (37) DO A8031 Tortlous Interference 1,2,3,5
CQ) A027 Other Contract Dispute(not breach/insurance/fraud/negligence) 1,2,3,8,8
Enitnent Domainiinverse . 286
Condemnation (14) O A7300 Eminent DomaivCondemnatlon Number of parcels. 1
§ Wrongful Eviction (33) 0 A6023 Wrongful Eviction Case 2.6
&
a O A6018 Mortgage Foreclosure 2,6
@ Other Real Property (26) | A6032 Quiet Title 2,6
1 A60G0 Other Real Property (not eminent domain, tandlord/enanl, foreclosure) | 2,8
. Uniawl neon CO A6024 Unlewful Detainer-Commercial (not drugs or wrongful eviction) 6, 11
uy
ij
2 Untewtul Daten Resident CD AG020 Unlawtul Delalner-Resideniial (not drugs or wrongful eviction) 6,11
a
a Unlawful Detalner- iner-Post- 26,14
: Post-Forectosure (34) O AG020F Uniawlul Datainer-Post-Foreclosure
5 Untawful Detalner-Drugs (38) | A6022 Uniewtul Delalner-Drugs 2,6, 14
CIVIL CASE COVER SHEET ADDENDUM Local Rule 2.3
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SHORT TITLE: HALPERN vs. NEIMAN MARCUS GROUP, INC, -

 

CASE NUMBER

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Asset Forfaiiure (05)
z Petition re Arbitration (11) O A6116 Patitlon to Compel/Confim/Vacate Arbitration 2,6
z O) A6161 Wrl- Administrative Mandamus 2,8
3 Whit of Mandate (02) C) A6152 Writ- Mandamus on Limited Court Case Maller
3 CD A6153 Wiit- Other Limited Courl Case Review
Other Judicial Review (39) | © A6150 Other Writ Judicial Review 2,8
§ AntiirusVTrade Regulation (03) |  A6003 AnlitruslTrade Regulation 1,2,6
2 Conatruction Defect (10) 0 As007 Construction Defect 1,2,3
3 Claims moa Mass Tort | 5 8006 Claims Involving Mass Tart 1,28
a
g Securitles Litigation (28) Q) A6035 Securitles Litigation Case 1,2,8
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a
& Toxlc Tort .
2 Environmental (30) 0} A6036 Toxle Tort/Environmental 1,2,3,8
Ci |
E mao Comper caee i) © A6014 Insurance Coverage/Subrogation (complex case only) 12,58
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© Aé141 Sister State Judgment 2.5, 41
2 OG A6160 Abstract of Judgment 2,6
£ E Enforcement Q A6107 Confession of Judgment (non-domestic relations) 2,9
8 8 of Judgment (20) DO) A6140 Administrative Agency Award (nol unpald taxes) 2,8
3
= ‘5 OD A6114 Petilion/Certificate for Entry of Judgment on Unpald Tax 2,8
© AG112 Other Enforcement of Judgment Case 2, 8,9
RICO (27) 0 AGO33 Racketeering (RICO) Case 4,2,8
g#
3 3 (1 AG030 Dectaratory Relief Only 1,2,8
8 5 Other Complaints OO A6040 Injunctive Rellef Only (nol domestic/harassment) 2,8
%= (Nol Specified Above) (42) | 6014 Other Commercial Complaint Case (non-lorlinon-complex) 1, 2,8
3
S (O A8000 Other Civil Complaint (non-lortinon-complex) 1,2,8
cr a re
Partnership Corporation
Governance (21) O A6113 Pertnership and Corporale Governance Case 2,4
D A6121 Civil Harassment With Damages 2,39
3 g O A6123 Workplace Harassment With Damages 2, 3,0
e Dependent Aduit 2, 3,9
§ 3 Other Pestions (Net CO 6124 Elder/Depandent Aduil Abuse Case With Damages
3 5 Specified Above) (43) © A6190 Election Contest 2
=o  AB110 Petition for Change of Name/Change of Gender «: 2,7
© A6170 Petition for Rellef fom Late Claim Law 2,3,8
© A6100 Other Civil Petition 2.9
LASC CIV 409 Rev. 42/1 CIVIL CASE COVER SHEET ADDENDUM Local Rule 2.3
ey 2B AND STATEMENT OF LOCATION Page 3 of 4

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SHORT TITLE: HALPERN vs, NEIMAN MARCUS GROUP, INC. CASE NUMBER

 

 

 

Step 4; Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Cotumn C for the
type of action that you have selected. Enter the address which is the basls for the filing location, including zip code.
(No address required for class action cases).

 

 

 

 

 

 

 

 

ADDRESS;
REASON: : 6550 Topanga Canyon BI
01.02.03,.04.05.06.07. 08.0 9.010.011. Canoga Park CA 91303
city: STATE: ZIP CODE:
Los Angeles CA 91303
Step 5: Certification of Assignment: | certify that this case is properly filed in the Central District of

 

the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq, and Local Rule 2.3(a)(1)(E)].

Dated: 2/11/2019

 

racy ATTORNEYIFILING PARTY)

PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
COMMENCE YOUR NEW COURT CASE:

4. Original Complaint or Petition.

2, If filing a Complaint, a completed Summons form for issuance by the Clerk.
3. Civil Case Cover Sheet, Judicial Council form CM-010.
4

cM Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
02/16),

Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payments.

6. Asigned order appointing the Guardian ad Litem, Judicial Councll form CIV-010, if the plaintiff or petitioner ts a
minor under 16 years of age will be required by Court in order to issue a Summons.

mn

7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
must be served along with the summons and complaint, or other initlating pleading In the case.

 

CIVIL CASE COVER SHEET ADDENDUM Local Rule 2.3

LASC CIV 109 Rev. 12/18 AND STATEMENT OF LOCATION Page 4 of 4
For Mandatory Use

 
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2016-SJ-007-0

 

 

| DEPARTMENT: 2 3 4 #j%5 7
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« DATE: AT 16:00 A.M.
TREAL:
e DATE: AT 8:30 A.M.

S ISSAL(C CIV. PROC), § 583.210):

 

« DATE: AT 8:30 A.M.

 

 

TO EACH PARTY AND TO THE ATTORNEY OF RECORD FOR EACH PARTY:

Pursuant to the Californis Code of Civil Procedure (“C.C.P.”), the California Rules
of Court (“C.R.C.") and the Los Angeles County Court Rutes (“Local Rules”), the Los
Angeles Superior Court (“LASC” or “Court”) HEREBY AMENDS AND SUPERSEDES
THE AUGUST 10, 2017 SEVENTH AMENDED GENERAL ORDER AND, GENERALLY,
j} ORDERS AS FOLLOWS IN THIS AND ALL OTHER GENERAL JURISDICTION
PERSONAL INJURY ACTIONS FILED IN THE CENTRAL DISTRICT.

| Page I of 8

 

      
 

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|
SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF LOS ANGELES ne
[N RE PERSONAL INJURY ) CASENO::
COURT ("P] COURT") PROCEDURES, )
CENTRAL DISTRICT ) STANDING ORDER RE: PERSONAL
(EFFECTIVE APRIL 16, 2018) ) INJURY PROCEDURES, CENTRAL
) DISTRICT

 

Standing Order Re Personal Injury Procedures, Central District

 

 

Filed 06/07/19 Page 13 0f 46 Page ID #:19

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Superor Court of Calltomia
Case 2:19-cv-04981 Document1-1 Filed 06/07/19 Page 14o0f46 Page ID #:20

 

 

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I 2018-SJ-007-00

1 |]. To ensure proper assignment to a Pl Court, Plaintiffts) must carefully fill out the Civil

2 j| Case Cover Sheet Addendum (form LACIV 109). The Court defines “personal injury" as:

3 i “an unlimited civil case described on the Civil Case Cover Sheet Addendum and

4 Statement of Location (LACIV 109) as Motor Vehicle-Personal Injury/Property

5 Damoge/Wrongful Death; Personal Injury/Property Damage/Wrongful Death-

6 Uninsured Motorist; Product Liability (other than asbestos or

7 toxic/environmental); Medical Malpractice-Physicians & Surgeons; Other

6 Professional Health Care Malpractice; Premises Liability; Intentional Bodily

9 Injury/Property Damage/Wrongful Death; or Other Personal Injury/Property
10 || Damage/Wrongful Desth. An action for intentional infliction of emotional
11 distress, defamation, civi! rights/discrimination, or malpractice (other than
12 medical malpractice), is not included in this definition. An action for injury to
13 real property is not included in this definition.” (Local Rule 2,3(a)(1)(A).)
14 Consistent with Local Rule 2.3(a)(1)(A), the Court will assign a case to the Pl Courts if
15 |iplaintifi(s) check any of the following boxes in the Civil Case Cover Shee! Addendum:
16 A7100 Motor Vehicle — Personal Injury/Property Damage/Wrongful Death
17 A7110 Personal Injury/Property Damage/Wrongful Death - Uninsured
18 Moterist
19 A7260 Product Liability (not asbestos or toxic/environmental)
20 A7210 Medical Malpractice — Physicians & Surgeons
21 A7240 Medical Malpractice — Other Professional Health Care Malpractice
22 A7250 Premises Liability (e.g., slip and fall)
23 A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,
24 assault, vandalisrn etc.)
25 A7220 Other Personal Injury/Property Damage/Wrongful Death
26 The Court will not assign cases to the P1 Courts if plaintiff(s) check any boxes elsewhere
27 |lin the Civil Case Cover Sheet Addendum (any boxes on pages two and three of thet form).
28 | /

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Standing Order Re Personal Injury Procedures, Central District

 

 
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| 2018-SJ-007-606

The Court sets the above dates in this action in the P! Court circled above (Department
2, 3, 4, 5, or 7) at the Spring Street Courthouse, 312 North Spring Street, Los Angeles, CA 90012.
| (C.R.C, Rules 3.714(b)(3), 3.729.)
FILING OF DOCUMENTS
2 Parties may file documents in person at the filing window on the first floor of the Stanley
Mosk Courthouse (111 N. Hill Street, Los Angeles, CA 90012) or by U.S. Mail or e-Delivery,
which is available online at wyvJacourtore (link on homepage). Please note that filings are no
longer accepted via facsimile and must be filed either in person, via U.S. mail or via e-Delivery.
Claims involving an attorney-client fee dispute, documents in which the filing party is a minor,

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legally incompetent person, or person for whom a conservator has been appointed, requests to

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waive court foes (FW-001) and requests for accommodations by persons with disabilities (MC-

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410), may not be filed via e-Delivery,

SERVICE OF SUMMONS AND COMPLAINT

3, Plaintiffs) shal) serve the summons and complaint in this action upon defendant(s) as
soon as possible but no later than three years from the date when the complaint is filed.

(C.C.P. § 583.210, subd.(a).) On the OSC re Dismissal date nated above, the PI Court will

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dismiss the action and/or al] unserved parties unless the plaintiffs) show cause why the oction
or the unserved parties should not be dismissed. (C.C.P. §§ 583.250; S81, subd, (b)(4).)
4. The Court sets the above trial and FSC dates on condition that plaintifi(s) effectuate

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service on defendant(s) of the summons and complaint within six months of filing the complaint.

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5. The PI Court will dismiss the case withoul prejudice pursuant to C.C.P. § 581 when no

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party appears for trial.
STIPULATIONS TO CONTINUE TRIAL
6, Provided that all parties agree (and there is no violation of the “five-year mule,” C.C.P.

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§ 583.310), the parties may advance or continue any trial date in the P! Courts without showing

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good cause or articulating any reason or justification for the change. To continue or advance 9
trial date, the parties (or their counsel of record) should Jointly execute and submit (at the filing
window on the first floor of the Stanley Mosk Courthouse, via U.S, mail or via e-Delivery; fee

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Pape 3 of 8

 

 

Standing Order Re Personal Injury Procedures, Central District

 

 
Case 2:19-cv-04981 Document1-1 Filed 06/07/19 Page 16 of 46 Page ID #:22

2018-SJ-007-D0,

| required) a Stipulation to Continue Trial, FSC and Related Motion/Discovery Dates {form
LACIV CTRL-242, available on the court's website, Personal Injury Court link). The P! Courts
schedule FSCs for 10:00 a.m., eight (8) court days before the trial date, Parties secking to
continve the trial and FSC dates shall file the Stipulation at least eight court days before the FSC
date, Parties seeking to advance the trial and FSC dates shall file the Stipulation at least eight
court days before the proposed advanced FSC date. (C.C.P. § 595.2; Govt. Code § 70617, subd.
| (oX(2).) In selecting a new trial date, parties should avoid setting on any Monday, or the Tuesday

following a court holiday. Parties may submit a maximum of two stipulations to continue trial,

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for a total continuance of six months. Subsequent requests to continue trial will be granted upon

a showing of good cause by noticed motion. This rule is retroactive so that any previously

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i granted stipulation to continue trial will count toward the maximum number of allowed

continuances,
}|NO CASE MANAGEMENT CONFERENCES
7. The PI Courts do not conduct Case Management Conferences. The parties need not file

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a Case Management Statement.

LAW AND MOTION
&, Any documents with declarations and/or exhibits must be tabbed. (C.R.C. Rule

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3,¢110(f).) All depositions excerpts referenced in briefs must be marked on the transcripts

attached as exhibits. (C.R.C, Rule 3.1116(c).)
CHAMBERS COPIES REQUIRED
9. In addition to filing original motion papers at the filing window on the first floor of the

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Stanley Mosk Courthouse, via U.S. mail or via ¢-Delivery, the parties must deliver, directly to

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the PJ Court courtrooms at the Spring Street Courthouse, an extra copy (marked “Chambers

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Copy”) of reply briefs and all other motion papers filed less than seven (7) court days before a
hearing calendared in the P1 Courts. The PI Courts also strongly encourage the parties filing and

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opposing lengthy motions, such as motions for summary judgmenYadjudication, to submit one

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or more three-ring binders organizing the chambers copy behind tebs.
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Standing Order Re Personal Injury Procedures, Central District

 

 
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2018-SJ-007-00
to
RESERVATION HEARING DATE

10. —_— Parties are directed to reserve hearing dates for motions in the PI Courts using the Court
Reservation System (CRS) available online at www dacourt.org (link on homepage). After
reserving a motion hearing date, the reservation requestor must submit the papers for filing with
the reservation receipt (CRS) number printed on the face page of the document under the caption
and attach the reservation receipt as the las! page. Parties or counse] who are unable to utilize
i the online CRS may reserve a motion hearing date by calling the P] Court courtroom, Monday
through Friday, between 3:00 p.m, and 4:00 p.m.

WITHDRAWAL OF MOTIONS

11. California Rules of Court, Rule 3.1304(b) requires a moving party to notify the court
immediately if a matter will not be heard on the scheduled date. In keeping with that rule, the Pl
Courts urge parties who amend pleadings in response to demurrers to file amended pleadings

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before the date when opposition to the demurrer is due so that the PI Courts do not needlessly

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prepare tentative rulings on demurrers.

DISCOVERY MOTIONS
12, The purpose of an Informal Discovery Conference (“IDC”) is to assist the partics to

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resoive and/or narrow the scope of discovery disputes. Lead trial counsel on each side, or another

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attomey with full authority to make binding agreements, must attend in person, The PI judges

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have found that, in nearly every case, the parties amicably resolve disputes with the assistance

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of the Court.
13. Parties must participate in an IDC before a Motion to Compel Further Responses to

Discovery will be heard unless the moving party submits evidence, by way of declaration, that

the opposing party has failed or refused to participate in an IDC. Scheduling or participating in

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an IDC does not automatically extend any deadlines imposed by the Code of Civil Procedure for

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noticing and filing discovery motions. Ideally, the parties should participate in on IDC before a

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motion is filed because the [DC may avoid the necessity ofa motion or reduce its scope. Because

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of that possibility, attorneys are encouraged to stipulate to extend the 45 (or 60) day deadline for

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filing 0 motion to compel Further discovery responses in order to allow time to participate in an

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Standing Order Re Personal Injury Procedures, Central District

 
Case 2:19-cv-04981 Document1-1 Filed 06/07/19 Page 18 o0f46 Page ID #:24

2018-SJ-007-~00

IDC.

If parties do not stipulate to extend the deadlines, the moving party may file the motion
to avoid it being deemed untimely, However, the IDC must take place before the motion is
heard so it is suggested thal the moving party reserve a date for the motion hearing that is at }east
60 days after the date when the IDC reservation is made. Motions to Compe Further Discovery
Responses are heard at 10:00 a.m. If the IDC is not productive, the moving party may advance

the hearing on a Motion to Compel Further Discovery Responses on any available hearing date

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that complies with the notice requirements of the Code of Civil Procedure.

14, Parties are directed to reserve IDC dates in the P] Courts using CRS available online at
| wou (link on homepage). Parties are to meet and confer regarding the available
dates in CRS prior to accessing the system. After reserving the IDC date, the reservation

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cequestor must file in the appropriate department and serve an Informal Discovery Conference
Form for Persona! Injury Courts, from LACIV 239 (revised 12/14 or later), at Jeast 15 court days
| prior to the conference and attach the CRS reservation receipt as the last page. The opposing
party may file and serve a responsive [DC form, briefly setting forth that party’s response, at

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least 10 court days prior to the IDC.
15. Time permitting, the P! Hub judges may be available to participate in IDCs to try to

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resolve other types of discovery disputes.
EX PARTE APPLICATIONS
16. Under the California Rules of Court, courts may only grant ex parte relief upon a

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21 |jshowing, by admissible evidence, that the moving party will suffer “irreparable harm,”
22 |} immediate danger,” or where the moving party identifies “a statutory basis for granting relief
23 jjex parte.” (C.R.C. Rule 3.1202(c).) The Pl Courts have no capacity to hear multiple ex parte
24 ||applications or to shorten time to add hearings to their fully booked motion calendars, The P]
25 {| Courts do not regard the Court’s unavailability for timely motion hearings as an “immediate
26 jj danger” or threat of “irreparable harm” justifying ex parte relief. Instead of seeking ex parte
27 || relief, the moving party should reserve the earliest available motion hearing date (even if it is
28 |] after the scheduled trial date) and should file a motion to continue trial, Parties should also check

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Standing Order Re Personal Injury Procedures, Central District
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2016-SJ-007-00;

the Court Reservation System from time to time because enrlier hearing dates may become
available as cases settle or hearings are taken off calendar.

REQUEST FOR TRANSFER TO INDEPENDENT CALENDAR DEPARTMENT

17. Parties secking to transfer a case from a Pi Court to an Independent Calendar (“I/C")
Court shall file {at the filing window on the first floor of the Stanley Mosk Courthouse, via U.S,
mail or via e-Delivery) and serve the Court's “Motion to Transfer Complicated Personal Injury
Case to Independent Calendar Court" (form LACIV 238, available on the Court’s website under
the P! Courts link). The PJ Courts will transfer a matter to an I/C Court if the case is not a

“Personal Injury” case as defined in this Order, or if it is “complicated.” In determining whether

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8 personal injury case is “complicated” the PI Courts will consider, among other things, the

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number of pretrial hearings or the complexity of issues presented.

18. Parties opposing a motion to transfer have five court days ta file (at the filing window

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on the first floor of the Stanley Mosk Courthouse, via U.S, mail or via e-Delivery) an Opposition

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(using the same LACIV 238 Motion to Transfer form),
19. The PJ Courts will not conduct a hearing on any Motion fo Transfer to [/C Court.

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Although the parties may stipulate to transfer a case to an Independent Calendar Department, the

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PI Courts will make an independent determination whether to transfer the case or not.

FINAL STATUS CONFERENCE
20. Parties shall comply with the requirements of the Pl Courts’ “First Amended Standing

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Order Re Final Status Conference,” which shall be served with the summons and complaint.
JURY FEES

21. Parties must pay jury fees no later than 365 calendar days after the filing of the initial
complaint. (C. C. P. § 631, subds. (b) and (c).)

JURY TRIALS
22. The PI Courts do not conduct jury trials. On the trial date, a P] Court will contact the

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Master Calendar Cowt, Department One, in the Stanley Mosk Courthouse. Department One

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will assign cases out for trial to dedicated Civil Trial Courtrooms and designated Criminal

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Courtrooms.

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Standing Order Re Personal Injury Procedures, Central District

 

 
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SANCTIONS
23. The Court has discretion to impose sanctions for any violation of this general order.

(C.C.P. §§ 128.7, 187 and Gov. Code, § 68608, subd, (b).)

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IP i s D K. Weintraub

Supervising Judge of Civil Courts
Los Angeles Superior Court

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Page 8 of 8

 

 

Standing Order Re Personal Injury Procedures, Central District

 

 
Case 2:19-cv-04981 Document1-1 Filed 06/07/19 Page 21 o0f46 Page ID #:27

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APR 16 2018
Short B, Party, Oticwt/Ctark
a Saag Oey
SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF LOS ANGELES — CENTRAL DISTRICT
In re Personal Mave Cases Assigned FIRST AMENDED STANDING ORDER ~—
io parknenis 2 3, ys and? f the Spri BERSONAL INJURY (Pim COURTS
Depa a
Peparimenis 2, 3,4, 5 and 7 of the Spring | (cive as oF Apri 16, 2018)

 

The dates for Trial and Final Status Conference (“FSC”) having been set in this matter, the
Court HEREBY AMENDS AND SUPERSEDES ITS JANUARY 2, 2018 STANDING
ORDER—RE: FINAL STATUS CONFERENCE, PERSONAL INJURY (“PI") COURTS
AND, GENERALLY, ORDERS AS FOLLOWS IN THIS AND ALL OTHER GENERAL
JURISDICTION PERSONAL INJURY ACTIONS:

1. PURPOSE OF THE FSC

The purpose of the FSC is to verify that the parties/counsel are completely ready to
proceed with trial continuously and efficiently, from day to day, until verdict. The PI Courts
will verify at the FSC that all parties/counsel have (1) prepared the Exhibit binders and Trial
Document binders and (2) met and conferred in an effort to stipulate to ultimate facts, legal
issues, motions In limine, and the authentication and admissibllity of exhibits.
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Page 1 of S

 

 

 

FIRST AMENDED ORDER RE FINAL STATUS CONFERENCE, PERSONAL INJURY COURTS (Effective April 18, 2018)

 
Case 2:19-cv-04981 Document1-1 Filed 06/07/19 Page 22 of 46 Page ID #:28

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2. TRIAL DOCUMENTS TO BE FILED
At least five calendar days prior to the Final Status Conference, the partles/counse!

shall serve and file (in Room 102 of the Stanley Mosk Courthouse or by e-Dellvery) the
following Trial Readiness Documents:

A. —_ TRIAL BRIEFS (OPTIONAL)

Each party/counsel may file, but is not required to file, a trial brief succinctly
identifying:

(1) the claims and defenses subject to litigation;

(2) the major legal issues (with supporting points and authorities);

(3) the rellef claimed and calculation of damages sought; and

(4) any other information that may assist the court at trial.

B. MOTIONS IN LIMINE

Before filing motions in limine, the partles/counsel shall comply with the
statutory notice provisions of Cade of Civil Procedure (°C.C.P.") Section 1005 and the
requirements of Los Angeles County Court Rule ("Local Rule”) 3.57(a). The caption of each
motlon in timine shall concisely identify the evidence that the moving party seeks to
preclude. Parties filing more than one motion In limine shall number them consecutively.
Parties filing opposition and reply papers shall identify the corresponding motion number in
the caption of their papers.

C. JOINT STATEMENT TO BE READ TO THE JURY

For jury trials, the partles/counsel shall work together to prepare and file a joint
written statement of the case for the court fo read to the jury. Local Rule 3.25(9)4).

D. JOINT WITNESS LIST

The parties/counsel shall work together to prepare and file a joint list of all
witnesses In alphabetical order by last name that each party intends to call (excluding
impeachment and rebuttal witnesses). Local Rule 3.25(g)(5). The joint witness list shall
identify each witness by name, specify which witnesses are experts, and estimate the length

of the direct, cross examination and re-direct examination (if any) of each witness. The
Page 20f5

FIRST AMENDEO ORDER RE FINAL STATUS CONFERENCE, PERSONAL INJURY COURTS (Effective Apel 18, 2018)

 
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parties/counsel shall identify all potential witness scheduling issues and special
requirements. Any party/counsel who seeks to elicit testimony from a witness not Identified
on the witness list must first make a showing of good cause to the trial court.

E. UST OF PROPOSED JURY INSTRUCTIONS

(JOINT AND CONTESTED)

The parties/counse! shall jointly prepare and file a list of proposed jury
instructions, organized in numerical order, specifying the instructions upon which all sides
agree and the contested instructions, if any. The List of Proposed Jury Instructions must
include a space by each instruction for the judge to indicate whether the Instruction was

i

| given.
F. JURY INSTRUCTIONS
(JOINT AND CONTESTED)

The parties/counsel shall prepare a complete set of full-text proposed jury
instructions, editing all proposed California Civil Jury Instructions ("“CACI") and insert party
name(s) and eliminate blanks and irrelevant material. The parties/counsel shall prepare
special Instructions in a format ready for submission to the jury with the instruction number,
title, and text only (j.e., there should be no boxes or other Indication on the printed
I instruction itself as to the requesting party).

G. JOINT VERDICT FORMS)

The parties/counse! shall prepare and jointly file a proposed general verdict
form or special verdict form {with interrogatories) acceptable to all sides. Local Rule
3.25(9X8). If the parties/counsel cannot agree on a joint verdict form, each party must

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separately file a proposed verdict form.

H. JOINT EXHIBIT LIST

The parties/counse! shall prepare and file a joint exhibit list organized with
columns identifying each exhibit and specifying each party's evidentiary objections, if any, to
il admission of each exhibit. The partles/counsel shall meet and confer in an effort to resolve

jobjections to the admissibility of each exhibit.
Page 30f5

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FIRST AMENDED ORDER RE FINAL STATUS CONFERENCE, PERSONAL INJURY COURTS (Effective April 15, 2018)

 

 

 
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1 | I. PAGE AND LINE DESIGNATION FOR

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DEPOSITION AND FORMER TESTIMONY
If the parties/counse! intend to use deposition testimony or former trial

testimony in tleu of any witness's live testimony, the parties/counse| shall meet and confer
and Jointly prepare and file a chart with columns for each of the following: 1) the line and
page designations of tha deposition or former testimony requested for use, 2) objections,
3) counter-designations, 4) any responses thereto, and 5) the Court's ruling.

3. EVIDENTIARY EXHIBITS

The parties/counsel shall jointly prepare (and be ready to temporarily lodge for
Inspection at the FSC) three sets of tabbed, Internally paginated by document, and properly-
marked exhibits, arganized numerically in three-ring binders (a set for the Court, the Judicial
Assistant and the witnesses). The parties/counsel shall mark all non-decumentary exhibits
and insert a simple written description of the exhibit behind the corresponding numerical tab
In the exhibit binder. If the parties have a joint signed exhibit list and electronic copies of
thelr respective exhibits, then the parties/counsel will not be required to produce exhibit
binders at the FSC. However, the exhibit binders may be required by the assigned trial
Judge when the trial commences. In the absence of elther a joint signed exhibit list or
electronic copies, exhibit binders will be required by all parties/counsel at the FSC,

4. TRIAL BINDERS REQUIRED IN THE PI COURTS

The parties/counsel shall jointly prepare (and be ready to temporarily lodge and
Include the following for inspection at the FSC) the Trial Documents consisting of conformad)
copies, tabbed and organized into three-ring binders with a table of contents that Includes

the following:
Tab A: Trial Briefs (Optional)
Tab B: Motions in Limine
Tab C: Joint Statement to Be Read to the Jury
Tab D: Joint Witness List

Page 4 of §

 

FIRST AMENDED ORDER RE FINAL STATUS CONFERENCE, PERSONAL INJURY COURTS (Effective April 16, 2016)

 

 

 
Case 2:19-cv-04981 Document1-1 Filed 06/07/19 Page 25o0f46 Page ID #:31

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4 I Tab E: Joint List of Jury Instructions (identifying the agreed upon and
2 }/contested Instructions)
3 Tab F: Joint and Contested Jury Instructions
4 Tab G: Joint and/or Contested Verdict Form(s)
5 Tab H: Joint Exhibit List
6 Tab I: Joint Chart of Page and Line Designation(s) for Deposition and Former
7 || Testimony
8 Tab J: Coples of the Current Operative Pleadings (including the operative
9 |]complaint, answer, cross-complaint, if any, and answer to any cross-complaint).

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The parties/counse! shall organize motions In limine (tabbed In numerical order)
behind Tab B with the opposition papers and reply papers for each motion placed directly
behind the moving papers. The parties shail organize proposed jury instructions behind
Tab F, with the agreed upon instructions first in order followed by the contested Instructions
| (including special instructions) submitted by each side.

5. FAILURE TO COMPLY WITH FSC OBLIGATIONS

The court has discretion to require any party/counsel who falls or refuses to comply
with this Amended Standing Order to show cause why the Court should not impose
monetary, evidentiary and/or Issue sanctions (including the entry of a default or the striking

 

 

of an answer).
Date if tre TH be denn PreneeA
Debre K. Weintraub
Supervising Judge, Clvil
Los Angeles Superior Court
Page 5 of 5

 

FIRST AMENDEO ORDER RE FINAL STATUS CONFERENCE, PERSONAL INJURY COURTS (Effective Aprtt 16, 2016)

 
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Superior Court of California
County of Los Angeles

 

ALTERNATIVE DISPUTE RESOLUTION (ADR)
INFORMATION PACKET

 

The person who files a civil lawsult (plaintiff) must include the ADR information
Packet with the complaint when serving the defendant. Cross-complainants must
serve the ADR Information Packet on any new parties named to the action
together with the cross-complaint.

There are a number of ways to resolve civil disputes without having to sue
someone. These alternatives to a jawsult are known as alternative dispute
resolution (ADR).

in ADR, trained, impartial persons decide disputes or help parties decide disputes
themselves. These persons are called neutrals. For example, in mediations, the
neutral Is the mediator. Neutrals normally are chosen by the disputing parties or by
the court. Neutrals can help resolve disputes without having to go to court.

 

 

 

LAADR 005 (Rev. 03/17)
LASC Adopted 10-03
Cai, Rules of Court, rule 3,221
Case 2:19-cv-04981 Document1-1 Filed 06/07/19 Page 27 of 46 Page ID #:33

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Advantages of ADR

® Often faster than going to trial

* Often less expensive, saving the litigants court costs, attorney’s fees and expert fees.

* May permit more participation, allowing parties to have more central over the outcome.

® Allows for flexibility in choice of ADR processes and resolution of the dispute.

* Fosters cooperation by allowing parties to work together with the neutral to resolve the dispute and
mutually agree to remedy.

* There are fewer, if any, court appearances. Because ADR can be faster and save money, it can reduce
stress,

Disadvantages of ADR - ADR may not be suitable for every dispute.

© if ADR is binding, the parties normally give up most court protections, including a decision by a judge or
jury under formal rules of evidence and procedure, and review for legal error by an appellate court.

e ADR may not be effective if it takes place before the parties have sufficient information to resofve the
dispute.

* The neutral may charge = fee for his or her services.

» Ifthe dispute is not resolved through ADR, the parties may then have to face the usual and traditional
costs of trial, such as attorney's fees and expert fees.

e The Most Common Types of AOR

« Mediation

in mediation, a neutral (the medialer) assists the parties in reaching a mutuaty acceptable resolution
of thelr dispute. Unlike lawsuits or some other types of ADR, the parties, rather than the mediator,
decide how the cispute is to be resalved.

* Mediation is particuiarly effective when the parties have a continuing relationship, like
neighbors or business people. Mediation Is also very effective where personal feelings are
getting In the way of a resolution. This is because mediation normally gives the parties a chance
to express their feelings and find out how the other sees things.

* Mediation may not be effective when one party is unwilling to cooperate or compromise or
when one of the parties has a significant advantage in power over the other. Therefore, it may
not be a good choice #f the parties have a history of abuse or victimization.

te LAADR 005 iKev. 03/17)
‘ LASC Adopted 10-03
Cal. Rules of Court, ruia 2.221

Page 2 af 4
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Case 2:19-cv-04981 Document1-1 Filed 06/07/19 Page 28 of 46 Page ID #:34

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> Arbitration

in arbitration, a neutral person called an “arbitrator” hears arguments and evidence from each
side and then decides the outcome of the dispute. Arbitration is typically less format thana
trial, and the rules of evidence may be relaxed. Arbitration may be elther “binding” or “non-
binding.” Binding arbitration means the parties waive their right to a trial and agree to accept
the arbitrator's decision as final. Non-binding arbitration means that the parties are free to
request a trial if they reject the arbitrator's decision.

Arbitration is best for cases where the parties want another person to decide the outcome of
their dispute for them but would like to avoid the formality, time, and expense of a trial. it may
also be appropriate for complex matters where the parties want a decision-maker who has
training or experience in the subject matter of the dispute.

* Mandatory Settlement Conference (MSC)

Settlement Conferences are appropriate in any case where settlement is an option.
Mandatory Settlement Conferences are ordered by the Court and are often held near the date
a case is set for trial. The parties and their attorneys meet with a judge who devotes his or her
tlme exclusively to preside over the MSC. The judge does not make a decision in the case but
assists the parties in evaluating the strengths and weaknesses of the case and In negotiating a
settlement,

The Los Angeles Superior Court Mendatory Settement Conference (MSC) program is free of
charge and staffed by exeerienced sitting civil Judges who devote their time exclusively to
presiding over MSCs. The judges participating in the Judicial MSC program anc their locations
are identified in the List of Settlement Officers found on the Los Angeles Superior Court website
at http //wwwJlecour.ore/, This program is available in general jurisdiction cases with
represented parties from Independent calendar (IC} and Central Civil West (CCW) courtrooms.
in addition, on an ad hoc basis, personal injury cases may be referred to the program on the
eve of trial by the personal injury master calendar courts In the Stanley Mosk Courthouse or the

asbestos calendar court in CCW.

in order te access the Los Angeles Superior Court MSC Program the judge in the (C courtroom,
the CCW Courtroom or the personal injury master calendar courtroom must refer the parties to
the program. Further, all parties must complete the information requested in the Settlement
Conference Intake Form and email the completed form to mscdepti8@lacourt.org.

LAADR 005 (Rev. 03/17)
LASC Adopted 10-03
Cal. Rules of Court, ruje 9.221

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Case 2:19-cv-04981 Document1-1 Filed 06/07/19 Page 29 0f 46 Page ID #:35

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Additional Information
To locate a dispute resolution arogram or neutral in your community:

* Contact the California Department of Consumer Affairs (www.d¢a.ce.gov) Consumer information
Center tall free at 800-952-5210, or;

* Contact the local bar association (http://www. lacba.org/} or;

® Lookin a telephone directory or search online for “mediators; or “arbitrators.”

 

as There may be a charge for services provided by private arbitrators and mediators.

A list of approved Staie Bar Approved Mandatory Fee Arbitration programs |s available at
http://calbar.ca.gov/Attorneys/MemberServices/FeeArbitration/ApprovedPrograms.aspxl19

Ta request information about, or assistance with, dispute resolution, call the number listed below. Or you may
call a Contract Provider agency directly. A list of current Contract Provider agencies in Los Angeles County is
avallabie at the fink below.

htto://ess jacounty. pov/programs/dispute-resolution-prograne-dro/

 

County of Les Angeles Dispute Resolution Program
3175 West 6th Street, Room 406
Los Angeles, CA 90020-1798
TEL: (243} 738-2623
FAX; (213) 386-3995

LAADR 005 (Rev. 63/17)
LASC Adopted 10-03
Cal. Rules of Court, rule 3.223

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SUPERIOR COURT OF CALIFORNIA ee LS
COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS; FILED
Spring Street Courthouse Supatiot Court of Caltornia
312 North Spring Street, Los Angeles, CA 90012 uunty of Los Angales
02/11/2018,
NOTICE OF CASE ASSIGNMENT Sheri R Carter, Exmcubve Otho ? Ged of Cont
By Picante Perec Oeputy
UNLIMITED CIVIL CASE
CASE NORBER i
Your case is assigned for all purposes to the judicial officer indicated below. | 19STCV04630

 

 

 

THES FORM 15 70 HE SERVED WITH THE SUMMONS AND COMPLAINT

 

ASSIGNED JUDGE DEPT ASSIGNED JUDGE DEPT | ROOM

Y {Stephen !. Goorvitch §

 

 

 

 

 

 

 

 

 

 

Given to the Plaintiff/Cross-ComplainanyAuomey of Record Sherri R. Carter, Executive Officer / Clerk of Court

on 02/13/2019 . By Ricardo Perez Deputy Clerk
Wate}
LACIV 190 (Rev 6/18) NOTICE OF CASE ASSIGNMENT ~— UNLIMITED CIVIL CASE
LASC Approved 05/06

 
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Case 2:19-cv-04981 Document1-1 Filed 06/07/19 Page 31o0f46 Page ID #:37

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INSTRUCTIONS FOR HTANDIUNG ENLIMETED CIVIL CASES

The following critical provisions of the California Ruies of Court, Tide 3, Division 7, as applicable in the Superior Court, are summarized

for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to al! general civil cases.

PRIORITY OVER OTHER RULES

The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

; GE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has nol yet appeared, within 15 days of the first appearance.

TIME STANDARDS

Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS

Without leave of court first being oblained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 66 days of the filing date,

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,

trial date, and expert witnesses,

FINAL STATUS CONFERENCE

The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shal have motions in limine, bifurcaticn motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At jeast five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules,

   

SANCTIONS

The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Suci sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions Is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Glass Actions

Pursuant to Local Rule 2.3, all class actions shall be filed ut the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be retumed to an Independent
Calendar Courtroom for al! purposes.

*Provisionally Complies Cases

Cases filed ag provisionally complex ere initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of Callfomia Rules of Court 3.400 et seq,, it will be
randomly assigned te a complex judge at the designated complex courthouse. Hf the case is found not to be complex, it will be
returned to an Independerit Calendar Courtroom for all purposes.

LACIV 490 (Rev 6/18) NOTICE OF CASE ASSIGNMENT ~ UNLIMITED CIVIL CASE
LASC Approved 05/06
Case 2:19-cv-04981 Document1-1 Filed 06/07/19 Page 32

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of 46 Page ID #:38

 

 

 

 

 

 

 

 

 

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SUPERIOR COURT OF CALIFORNIA Reserva for Clon Flo Stomp
| COUNTY OF LOS ANGELES FILED
OURTHOUSE ADDRESS:

Spring Street Courthouse s cumly of Las Angeles .
312 North Spring Street, Los Angeles, CA 90012 02/14/2019
PLAINTIFF/PETITIONER: Shen R Carte, Exncuéve Otfcw | Chedt of Cors!
Mayam Halpern By, __ ianCestitee  oepury
DEFENDANTIRESPONDENT;
NEIMAN MARCUS GROUP, INC

CASE NUMBER:

48STCV04630

 

 

CERTIFICATE OF MAILING

 

|, the below-named Executive OfficeriClerk of the above-entitied court, do hereby certify that | am not a
arty to the cause herein, and that on this date { served the Other - (name extension), Standing Order re Pi
rocedures and Hearing Dates upon each party or counsel named below by placing the document for

collection and mailing so as to cause it to be deposited in the United States mail at the courthouse In Los

Angeles, California, one copy of the original filed/entered herein in a separate saaled envelope to each

address as shown below with the postage thereon fully prepaid, in accorda
practices.

Jesse L Haipern

The Halper Law Firm

26500 W. Agoura Rowu, Suite 212
Calabasas, CA 91302

nce with standard court

Sherri R, Carter, Executive Officer / Clerk of Court

Dated: 02/14/2018
Deputy Clers

By: Lilllan Castillelo

 
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2018-S3-007-00
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‘Bounty of LosfAnaeio
SUPERIOR COURT OF THE STATE OF CALIFORNIA APR 16 potd
Sh 4 ‘ 7
FOR THE COUNTY OF LOS ANGELES me flee. Ottcerterh
“lephanie Chu Depuly
IN RE PERSONAL INJURY ) CASENO.: JASTCV O04 U30
COURT (“PICOURT") PROCEDURES, )
CENTRAL DISTRICT ) STANDING ORDER RE: PERSONAL
(EFFECTIVE APRIL 16, 2018) ) INJURY PROCEDURES, CENTRAL
) DISTRICT
)
)

 

DEPARTMENT: a | af] 4] XC

FINAL STATUS CONFERENCE (“FSC”):
© DATE: 07/277 DODO AT 10:00 AM.
TRIAL:
¢ DATE: op holon AT 8:30 4M,
OSC RE DISMISSAL (CODE CY. PROC., § 583.210):
* DATE: 02 | 7 | Poo AT 8:30 A.M.

 

 

 

TO EACH PARTY AND TO THE ATTORNEY GF RECORD FOR EACH PARTY:

Pursuant to the California Cade of Civil Procedure (*C.C.P,”), the California Rules
of Court (“C.R.C."} and the Los Angeles County Court Rules (“Local Rules”), the Los
Angeles Superior Court (LASC” ar “Court”) HEREBY AMENDS AND SUPERSEDES
THE AUGUST 106, 2017 SEVENTH AMENDED GENERAL ORDER AND, GENERALLY,
ORDERS AS FOLLOWS IN THIS AND ALL OTHER GENERAL JURISDICTION
PERSONAL INJURY ACTIONS FILED IN THE CENTRAL DISTRICT.

Pape 1 of §

Standing Order Re Personal injury Procedures, Central District

 
Case 2:19-cv-04981 Document1-1 Filed 06/07/19 Page 34o0f46 Page ID #:40

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2018-SJ-007~00

1 yy. To ensure proper assignment to a PI Court, Plaintiff(s) must carefully fill out the Civil

2 j|Case Cover Sheet Addendum (form LACIV 109). The Court defines “personal injury” as:

3 “an unlimited civil case described on the Civil Case Cover Sheet Addendum and

4 Statement of Location (LACTV 109) as Motor Vehicle-Personal Injury/Property

5 Damage/Wrongful Death; Personal Injury/Property Damage/Wrongful Death-

6 Uninsured Motorist; Product Liability (other than asbestos or

7 toxic/environmental); Medical Malpractice-Physicians & Surgeons; Other

8 Professional Health Care Malpractice, Premises Liability; Interitional Bodily

9 Injury/Properiy Damage/Wrongful Death; or Other Personal Injury/Property
10 Damage/Wrengful Death. An action for intentional infliction af emotional
il distress, defamation, civil rights/discrimination, or malpractice (other than
12 medical malpractice), is mot included in this definition. An action for injury to
13 real property is not included tn this definition.” (Local Rule 2.3{a)(1 fA),)
14 Consistent with Loca! Rute 2.3(a}(i)(A), the Court will assign a case to the Pl Courts if
15 |} plaintiff(s) check any of the following boxes in the Civil Case Cover Sheet Addendurn:
16 A7190 Motor Vehicle - Personal injurwProperty Damage‘Wrongful Death
17 A7110 Personal Injury/Property Darnage/Wrongful Death ~ Uninsured
18 Motorist
13 A7260 Product Liability (act asbestos or toxic/environmental)
290 47210 Medical Malpractice ~ Physicians & Surgeons
2i A7240 Medical Malpractice - Other Professional Health Care Malpractice
22 A7250 Premises Liability fe.g,, slip and fail}
23 A7230 intentional Bodily Injury/Property Damage/Wrongful Death (6.2.
24 assault, vandalism etc.)
25 4.7220 Other Ferscnal Injury/Properiy Damage/Wrongful Death
26 The Court will not assign cases to the P! Courts if plaintiff(s) check any boxes elsewhere
27 |jin the Civil Case Cover Sheet Addendum (any boxes on pages two and three of that form).
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Pane 2 of 8
7 - "Standing Order Re Personal {njury Procedures. Central District ”

 

 

 
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Case 2:19-cv-04981 Document1-1 Filed 06/07/19 Page 35o0f46 Page ID #:41

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2016-SJ3-007-00

in

The Court sets the above dates in this action in the P! Court circled above (Department

ter

2,3, 4,5, or 7) at the Spring Street Courthouse, 312 North Spring Street, Los Angeles, CA 90012,
(C.R.C. Rules 3.714(0)(3), 3.729.)

FILING OF DOCUMENTS

2. Parties may file documents in person at the filing window on the first floor of the Stanley
Mosk Courthouse (111 N. Hill Street, Los Angeles, CA 90012) or by U.S. Mail or e-Delivery,

which is available online at www faconrz.ore (link on homepage). Please note that filings are no

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longer accepted via facsimile and must be filed either in person, via U.S. mail or via e-Delivery.
9 1/ Claims involving an attorney-client fee dispute, documents in which the filing party is a minor,

10 |jlegally incompetent person, or person for whom a conservator has been appointed, requests to

11 |} waive court fees (FW-001) and requests for accommodations by persons with disabilities (MC-

12 |} 410), may nat be filed via e-Delivery.

13 | SERVICE OF SUMMONS AND COMPLAINT

14 13. Plaintiff(s) shall serve the summons and complaint in this action upon defendant(s) as

15 || soon as possible but no later than three years from the date when the complaint is filed.

16 |/(C.C.P. § 383.210, subd.{a}.) On the OSC re Dismissal date noted above, the PI Court will

17 |{ dismiss the action and/or all unserved parties unless the plaintifi(s) show cause why the action

16 {jor the unserved parties should not be dismissed. (C.C.P, §§ 583.250; 581, subd. (b}(4),)

19 H4. The Court sets the above trial and FSC dates on condition that plaintiff(s) effectuate

20 || service on defendant(s) of the summons and complaint within six months of filing the complaint.

21 115. The PI Court will dismiss the case without prejudice pursuant to C.C.P. § 58? when no

22 || party appears far trial.

23 || STIPULATIONS TO CONTINUE TRIAL

24 116. Provided that all parties agree (and there is no violation of the “five-year rule,” C.C.P.

25 |} § 583.310), the parties may advance or continue any trial date in the FI Courts without showing

26 || good cause or articulating any reason or justification for the change. To continue or advance a

27 || trial date, the parties (or their counsel of record) should jointly execute and submit (at the filing

28 || window on the first floor of the Stanley Mosk Courthouse, via U.S. mail or via e-Delivery; fee

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Standing Order Re Personal Injury Procedures, Central District

 

 

 
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2016-S9-007-00

required) a Stipulation to Continue Trial, FSC and Retated Motion/Discovery Dates (form
LACIV CTRL-242, available on the court's website, Personal Injury Court tink). The PI Courts
schedule FSCs for 10:00 am., eight (8) court days before the trial date. Parties secking to
continue the trial and FSC dates shall file the Stipulation at least eight court days before the FSC
date. Parties seeking to advance the trial and FSC dates shail file the Stipulation at least eight
court days before the proposed advanced FSC date. (C.C.P. § 595.2; Govt. Code § 70617, subd.

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(c)(2).) In selecting a new tria! date, parties should avoid setting on any Monday, or the Tuesday

o

following a court holiday. Parties may submit a maximum of two stipulations to continue trial,
9 || for a total continuance of six months. Subsequent requests to continue trial will be granted upon

10 {Ja showing of good cause by noticed motion. This rule is retroactive so that any previously

11 granted stipulation to comtinue trial will count toward the maximum number of allowed

12 ||continuances.

13 {||/NO CASE MANAGEMENT CONFERENCES

14 4/7, The PI Courts do not conduct Case Management Conferences. The parties need not file

15 |ja Case Management Statement.

16 [| LAW AND MOTION

17 138. Any documenis with declarations and/or exhibits must be tabbed. (C.R.C. Rule

18 | 3.1110(f).) All depositions excerpts referenced in briefs must be marked on the transcripts

19 |[attached as exhibits. (C.R.C. Rule 3.1116(c).)

20 || CHAMBERS COPIES REQUIRED

 

21 179. In addition to filing original motion papers at the filing window on the first floor of the
22 ||Stanley Mosk Courthouse, via U.S. mail or via e-Delivery, the parties must deliver, directly to
23 {|the Pl Court courtrooms at the Spring Street Courthouse, an extra copy (marked “Chambers

24 |(Copy”) of reply briefs and all other motion papers filed less than seven (7) court days before a
25 || hearing calendared in the P! Courts. The P! Courts also strongly encourage the parties filing and
26 {| opposing lengthy motions, such as motions for summary judgment/adjudication, to submit one
27 {jor more three-ring binders organizing the chambers copy behind tabs,

28 |i//

Pope 4 of 8

 

Standing Order Re Personal Injury Procedures, Central District

 

 

 
 

 

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| DISCOVERY MOTIONS

 

 

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RESERVATION HEARING DATE

10, Parties are directed to reserve hearing dates for motions in the PI Courts using the Court

Reservation System (CRS) available online at woivfacourt.org (link on homepage). After

 

reserving a motion hearing date, the reservation requestor must submit the papers for filing with
the reservation receipt (CRS) number printed on the face page of the document under the caption
and attach the reservation receipt as the last page. Parties or counsel who are unable to utilize
the online CRS may reserve a motion hearing date by calling the PI Court courtroom, Monday
through Friday, between 3:00 p.m. and 4:00 p.m.

WITHDRAWAL OF MOTIONS

11. Califomia Rules of Court, Rule 3.1304(b) requires a moving party to notify the court
immediately if a matter will not be heard on the scheduled date. In keeping with that rule, the PI
Courts urge parties whe amend pleadings in response to demurrers to file amended pleadings
before the date when opposition to the demurrer is due so that the PJ Courts do not needlessly

prepare tentative rulings on demurrters.

12. The purpose of an Informal Discovery Conference (“IDC”) is to assist the parties to
resolve and/or narrow the scope of discovery disputes. Lead trial counsel on each side, or another
attorney with full authority to make binding agreements, must attend in person. The PI judges
have found that, in nearly every case, the parties amicably resolve disputes with the assistance
of the Court.

13. Parties must participate in an IDC before a Motion to Compe} Further Responses to
Discovery will be heard unless the moving party submits evidence, by way of declaration, that
the opposing party has failed or refused to participate in an IDC. Scheduling or participating in
an IDC does not automatically extend any deadlines imposed by the Code of Civil Procedure for
noticing and filing discovery motions. Ideally, the parties should participate in an IDC before a
motion is filed because the IDC may avoid the necessity of a motion or reduce its scope. Because
of that possibility, attorneys are encouraged to stipulate to extend the 45 (or 60) day deadline for

filing a motion to compel further discovery responses in order to allow time to participate in an

Page 5 of 8

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Standing Order Re Personal Injury Procedures. Central District

 

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Case 2:19-cv-04981 Document1-1 Filed 06/07/19 Page 38 of 46 Page ID #:44

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If parties do not stipulate to extend the deadlines, the moving party may file the motion
to avoid it being deemed untimely, However, the IDC must take place before the motion is
heard so il is suggested that the moving party reserve a date for the motion hearing that is at least
60 days after the date when the IDC reservation is made. Motions to Compel Further Discovery
Responses are heard at 10:00 a.m. Jf the IDC is not productive, the moving party may advance
the hearing on a Motion to Compel Further Discovery Responses on any available hearing date

that complies with the notice requirements of the Code of Civil Procedure.

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14. Parties are directed to reserve IDC dates in the PI Courts using CRS available online at
‘ 10 || www.lacouri.org (link on homepage). Parties are to mect and confer regarding the available
| 11 || dates in CRS prior to accessing the system. After reserving the IDC date, the reservation
12 jjrequestor must file in the appropriate department and serve an Infonnal! Discovery Conference
13 |} Form for Persona! Injury Courts, from LACIV 239 (revised 12/14 or later), at least 15 court days
14 |{prior to the conference and attach the CRS reservation receipt as the last page. The opposing
15 || party may file and serve a responsive IDC form, briefly setting forth that party’s response, at
16 {}least 10 court days prior to the IDC.

17 115. Time permitting, the PI Hub judges may be available to participaie in IDCs to try to
18 |lresolve other types of discovery disputes,

19 |} EX PARTE APPLICATIONS

20 3/16, Under the California Rules of Court, courts may only grant ex parte relief upon a

 

21 ||showing, by admissible evidence, that the moving party will suffer “irreparable harm,”
22 ||“immediate danger,” or where the moving party identifies “a statutory basis for granting relief
ex parte.” (C.R.C, Rule 3.1202(c).} The PI Courts have no capacity to hear multiple ex parte

24 ||applications or to shorten time to add hearings to their fully booked motion calendars. The PI

No
Ww

25 || Courts do not regard the Court’s unavailability for timely motion hearings as an “immediate
26 {[danger” or threat of “irreparable harm” justifying ex parte relief. Instead of seeking ex parte
27 jjeelief, the moving party should reserve the earliest available motion hearing date (even if it is

28 || after the scheduled trial date) and should file a motion to continue trial. Parties should also check

Page 6 of 8

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Standing Order Re Personal Injury Procedures. Central District

 

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the Court Reservation System from time to time because earlier hearing dates may become
available as cases settle or hearings are taken off calendar.
REQUEST FOR TRANSFER TO INDEPENDENT CALENDAR DEPARTMENT

17. Parties seeking {o transfer a case from a PI Court to an Independent Calendar (‘1/C")
Court shall file (at the filing window on the first floor of the Stanley Mosk Courthouse, via U.S.
mail or via e-Delivery) and serve the Court's “Motion to Transfer Complicated Personal Injury
Case to Independent Calendar Court” (form LACIV 238, available on the Court’s website under
the P] Courts link). The PL Courts will transfer a matter to an VC Court if the case is not a
“Personal injury” case as defined in this Order, or ifitis “complicated.” In determining whether
a personal injury case is “complicated” the PI Courts will consider, among other things, the
number of pretrial hearings or the complexity of issues presented.

18. Parties opposing a motion to transfer have five court days to file (at the filing window
on the first floor of the Stantey Mosk Courthouse, via U.S. mail or via e-Delivery) an Opposition
(using the same LACIV 238 Mation to Transfer form).

19, The Pl Courts will not conduct a hearing on any Motion to Transfer to VC Court.
Although the parties may stipulate to transfer a case to an Independent Calendar Department, the
PI Courts will make an independent determination whether to transfer the case or not.

FINAL STATUS CONFERENCE

20, ‘Parties shall cornply with the requirements of the Pl Courts’ “First Amended Standing
Order Re Final Status Conference,” which shall be served with the summons and complaint.
JURY FEES
21, Parties must pay jury fees no later than 365 calendar days after the filing of the initial
complaint, (C. C. P. § 631, subds. (b) and (c).)

JURY TRIALS

22. The PI Courts do not conduct jury trials. On the trial date, a Pl Court will contact the
Master Calendar Court, Department One, in the Stanley Mosk Courthouse, Department One
will assign cases out for trial to dedicated Civil Trial Courtrooms and designated Criminal

Courtrooms.

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Standing Order Re Personal Injury Procedures, Central District

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SANCTIONS

23. The Court has discretion to impose sanctions for any violation of this general order.

(C.C.P. §§ 128.7, 187 and Gov. Code, § 68608, subd. (b),)

Dated: Carll Ibi2-0 IS Qebren BL leeathaud

Debre K. Weintra
Supervising Judge of Civil Courts
Los Angeles Superior Court

Page 8 of 8

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*

CIV-060

- DO NOT FILE WITH THE COURT-
-UNLESS YOU ARE APPLYING FOR A DEFAULT JUDGMENT UNDER CODE OF CIVIL PROCEDURE § 585 -

 

ATTORNEY Of PARTY WITHOLT ATTORNEY of BY pe ang surdrass, TELEPHONE N FOR COURT USE ONLY

Jesse L. Halpern, Esq. (CS #37962) (818) 785- 69
The Halpern Law Firm
26500 W. Agoura Rd., Suite 212
Calabasas, CA 91302
ATTORNEY FOR frome Maryam Halpern
SUPERIOR COURT OF CALIFORNIA, COUNTY OF [os Angeles
sneer appress; 312 N. Spring Street
MAILING ADDRESS:
erry anoucooe: Los Angetes, CA 90012
SRANCH NAME;
PLAINTIFF: Maryam Halpern
DEFENDANT: Neiman Marcus Group, Inc.

 

 

 

“CASE NUMBER:

 

STATEMENT OF DAMAGES /
{Personal Injury or Wrongful Death) ISSTCV04630

 

 

 

 

Te (name of one defendant only): Maryam Halpern
Plaintiff (name of one plaintiff onlyy: Neiman Marcus Group, Inc.
seeks damages in the above-entitied action, as follows:

AMOUNT
a. CZ) Pain, suffering, and inconvenience .....cccecesneseecceissessnccserauae soesssnnssveaeneeanesiesee §900,000,00

+, General damages

b, [] Emotional distress. o...sccsssessssssescessesscsceueessssusssseeesesrvanvenseessinnarenurieeeeunanavesseseresceentcactvenses eencscer
©, L—] Loss of Consortium ....ccccsssseseccccsssssseressessserecceversssensrestensanssesaveumassnnsssvteesteestesussecteivastseneeraceee §
d. C2] Loss of sociey and companionship (wrongful death actions ONY) oc eee §
©. Other SPECI nmuniecrnunnninuirnutiinniniints annunnivnnenncen §

g. [] Continued on Attachment 1.¢.
2. Special damages

a. Medical expenses (£0 Gate) ...cc..ccscssesscssssssesssesssessesessescassesvecssesseserensereneatscsesessseeeanesessssstecatiasessteeuenes $ 15,319.00

b. Co Future medical expenses (present value) ............

  

c. ] Loss Of GarNings (0 PCEIG) ooo ccc sete nanetenecarecesssabeassasenss cer sarerseptaemaseacas
afl Loss of future earning capacity (present ValUg) ooo eect eee caterers eeetmnen tie nena resigns naanenrean
ef] Property GH AQR occ cece rstecnenee renee cid ceeeeee aE ADdeen be ceed cued Bde Deaecco arene WEaMN Seg e tad c Os kenee resiaaee teapaec ena
f. C2) Funerai expenses (wrongful death actions only) ...
gL] Future contributions (present value) (wrongful death actors ONY) oo... cee se cesta cen te rete cece eenee

 

 

 

 

h. 2) Vatie of personal service, advice, of training (wrongful death actions OnIY) we.c.cccsscesmecsmnsensenee See

OT other (0c) mmnnninminuecninaninsinensniinnmavnnennancnee Se

jC other (9p CI) canna _

k. J) Continued on Attachment 2.k.
3. C_] Punitive damages: Plaintiff reserves the right to seek punitive damages in the amount of (specify). $

when pursuing a judgment in the suit filed agains! you. wo
Date: 05-04-19 L- Am
Jesse L. Halpern, Esq. > i
{TYPE OR PRINT NAME) {SKGNAT ARE OF PLAINTIFF OR ATTORNEY Fon PLANT)
(Proof of service on reverse) Page 4 of 2

Form adopted tor Murdnicay Use STATEMENT OF DAMAGES L Gode of Civil OS oe eames sr
civins0 prev. anuary 1. 2007) (Personal injury or Wrongful Death)
Case 2:19-cv-04981 Document1-1 Filed 06/07/19 Page 43 of 46 Page ID #:49

 

 

 

CiV-050
PLAINTIFF: Maryam Halpern CASE NUMBER:
DEFENDANT: Neiman Marcus Group, Inc. 19STCV04630

 

 

PROOF OF SERVICE
(After having the other party served as described below, with any of the documents identified in item 7, have the person who served
the documents complete this Proof of Service. Plaintiff cannot serve these papers}

1. | served the
a. [_] Statement of Damages [—) other (specify):

b. on (name}:
¢, by serving (Jeefendant [other (name and tile or relationship to person served):

d. C_)by delivery (olathome {[7_lat business
(1) date:
(2) time:
(3) address:

e. [] by mailing
{1) date:
(2) place:
2, Manner of service (check proper box):

a, CJ] Personal service. By personally delivering copies. (CCP § 445,10)

1s b. [7] Substituted service on corporation, unincorporated assoctation {including partnership}, or public entity. By
leaving, during usual office hours, copies in the office of the parson served with the pereon whe apparently was in
charge and thareafter mailing (by first-class mail, postage prepaid) copies to the person served at the place where the
copies ware left. (CCP § 415.20{a))

c. FC] Substituted service on naturat person, minor, conservatee, or candidate. By leaving copies at the dwelling house,
usual place of abode, or usual place of business of the person servad in ths presence of a competent member of the
household or a person apparently in charge of the office or place of business, at least 418 years of age, who was
informed of the general nature of the papers, and thereafter malting (by first-class mail, postage prepaid) copies to the
person served at the place where the copies were left. (CCP § 415.20(b)) (Attach separate declaration or affidavit
stating acts relied on to establish reasonable diligence in first attempting personal service.)

 

a. CJ] maitand acknowledgment service. By mailing (by first- class mail or alrmail, postage prepaid) copies to the person
served, together with two copies of the form of notice and acknowledgment and a return envelope, postage prepaid,
addressed to the sender, (CCP § 415.30} (Attach completed acknowledgment of receipt.)

e. C7) Certified or registered mall service. By mailing to an address outside California {by first-class mail, postage prepaid,
requiring a return receipt} copies to the person served. (CCP § 415.40) (Attach signed return receipt or other
evidence of actual delivery to the person served.)

4 C3 Other (Specify cade section):
[3 additional page is attached.
3, At the time of service | was al least 14 years of age and not a party to this action.
4, Fee for service: $
§, Person serving:

a. California sheriff, marshal, or constable f. Name, address and telephone number and, if applicable,
b. Registered California process server county of registration and number:
C. Employee or independent contractor of a registered

Calffornia process server
a. [_) Nota registered California process server
e. (__} Exempt from registration under Bus. & Prof. Code

lak ar on

 

 

 

 

ser. § 22350(b)
pr ideclare under penalty of perjury under the laws of the {For California sherifl, marshal, or constable use only)
€ State of California that the foregoing is true and correct. i canify that the foregoing is true and correct,

+

» Date: Date:
8

, » >

: (SIGNATURE) (SIGNATURE)

GN-080 Rew Jaruany 4. 20071 PROOF OF SERVICE Code of Civil Procedure $$ animate

{Statement of Damages)
Electronically FILED by Superior Court of California, County of Los Angeles on 06/09/2019 02:35 PM Sherri R. Carter, Executive Officer/Clerk of Court, by M. aie Clerk

Case 2:19-cv-04981 Document1-1 Filed 06/07/19 Page 44 of 46 Page ID #:50

 

ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Gar number. and address) FOR COURT USE ONLY
|. Jesse L. Halpem | SBN: 37962 .

THE HALPERN LAW FIRM
26500 W. Agoura Rd, Suite 212 Calabasas. CA $1302

TELEPHONE NO.: (818) 785-5909 | FAX NO. [E-MAIL ADDRESS (Optional): | h@hai perm! awcorp.com
ATTORNEY FOR (Name): Dafen dant Mar yamHal pern

 

LOS ANGELES COUNTY SUPERIOR COURT

STREET ADDRESS: 111 NORTH HILL ST.

MAILING ADDRESS:

ciTy aND zip CoobE. LOS ANGELES, CA 90012
BRANCH NAME CENTRAL DISTRICT

 

PLAINTIFF: Maryam Halpem CASE NUMBER:
DEFENDANT: Neiman Marcus Group, Inc. 19STCV04630

 

 

Ret. No. or File No.:

PROOF OF SERVICE OF SUMMONS Berta

 

 

 

(Separate proof of service is required for each party served.}

1. At the time of service | was at least 18 years of age and not a party to this action.
2. | served copies of:

a. wy Summons

b. Complaint

c. Alternative Dispute Resolution (ADR) package

d. os Civil Case Cover Sheet (served in complex cases only)
e. Cross-compliaint

f.

other (specify documents): Civil Case Cover Sheet; Civil Case Cover Sheet Addendum and Statement of
Location;Standing Order Re Personal Injury Procedures, Central District; FIRST AMENDED ORDER RE FINAL STATUS
CONFERENCE, PERSONAL INJURY COURTS; NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE; Statement of
Damages

. a. Patty served (specify name of party as shown on documents served):
NEIMAN MARCUS GROUP, INC.

b. wT Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under
item 5b an whom substituted service was made) (specify name and relationship to the party named in item 3a):
CT CORPORATION SYSTEM - Registered Agent

. Address where the party was served: Neiman Marcus Group, Inc.
1618 Main St
Dallas, TX 75201-8720

. | served the party (check proper box)

a. by personal service. | personally delivered the documents listed in item 2 to the party or person authorized to
receive service of process for the party (1) on (date): (2) at (time):

b. Ww by substituted service. On (date): 5/8/2019 at (time): 2:35 PM | left the documents listed in item 2 with or
in the presence of (name and title or relationship to person indicated in iter 3b):
LINDA UPTON - Authorized to Accept
Age: 55 yrs Weight: 130 tbs Hair: Br Sex: Female Height: 5'6" Eyes: Br Race: Cau

(1) (wy (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the
person to be served. | informed him of her of the general nature of the papers.

(2) C (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of
abode of the party, | informed him or her of the general nature of the papers.

(3) Cc) (physical address unknown) 3 person at least 18 years of age apparently in charge at the usual mailing
address of the person to be served, other than a United States Postal Service post office box. | informed him of
her of the general nature of the papers.

(4) C1] (thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the
place where the copies were left (Code Civ. Proc., §415.20). | mailed the documents on
(date): from (city): or [Ww a declaration of mailing is attached.

Pag tot2

 

“Goae of Giv UProcedure, § 417.10

Far appove( 6 Herbetrettach @ declaration of diliganee.stating.adiane takog fast ia auempt personal service,  - nocran anwwanssee

PQS-010 [Rev. January 1, 2007]
Case 2:19-cv-04981 Document1-1 Filed 06/07/19 Page 45o0f46 Page ID #:51

 

PETITIONER: Maryam Halpern CASE NUMBER:

19STCV04630
RESPONDENT: Nelman Marcua Group, Inc.

 

 

 

 

cL] by mail and acknowledgment of receipt of service. | mailed the documents listed in item 2 to the party, to the address
shown in item 4, by first-class mail, postage prepaid.
(1) an (date): (2) from (city):
(ay with two copies of the Notice and Acknowledgment of Receiptand a postage-paid return envelope addressed to me.
{Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
(4) to an address outside California with return receipt requested, (Code Civ. Proc., § 415.40.)
d, Cj by other means (specify means of service and authorizing code section):

[Additional page describing service is attached.
6. The "Notice to the Person Served” (on the summons) was completed as follows:

a. LJ as an individual defendant.
b. as the person sued under the fictitious name of (specify):
c. as occupant.
4. On behalf of NEIMAN MARCUS GROUP, INC.
under the following Code of Civil Procedure section:
416.10 (corporation)
(1) 416.20 (defunct corporation)
(1) 416.30 (joint stock company/association)
[) 416.40 (association or partnership)
[] 416.50 (public entity)

415.95 (business organization, form unknown)
416.60 (minor)

416.70 (ward or conservatee)

416.90 (authorized person)

415.46 (occupant)

other.

OOOO0O

7. Person who served papers

. Name: Kathleen Miller - Seif Legal Services, Inc.

. Address: 21730 Marylee Street, Unit 39 Woodland Hills, CA 91367
. Telephone number. (310) 893-5591

. The fee for service was: $ 240.00

lam:

eg@aosm

(1) not a registered California process server.
(2) exempt from registration under Business and Professions Code section 22350(b).
(3) registered California process server:

(i) owner employee (1 independent contractor.
(ii) Registration No.: PSC-1898
(ili) County:

8. oy 1 declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
or
9.) tama California sheriff or marshal and | certify that the foregoing is true and correct.

Date: 5/9/2019

Seif Legal Services, Inc.
21730 Marylee Street, Unit 39
Woodland Hills, CA 91367
(310) 893-5591

 

__ ee Kathieen Miller , s/ off G
(NAME OF PERS@M-AH46-GERVES-PARERS/SHERIFF OR MARSHAL) 1 -_ (iy / / é

POG-010 [Rew January 1, 2007] PROOF OF SERVICE OF SUMMONS pos-otovutesses
Case 2:19-cv-04981 Document1-1 Filed 06/07/19 Page 46 of 46 Page ID #:52

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The Neiman Marcus Gr tise on ECE ABE am oe M100
Legal Departmend MONS (SOLO PARA USO DE caeo
(CITACTON JUDICIAL) ae
NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO);

NEIMAN MARCUS GROUP, INC. and Does | to 100

YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEMANDANDO EL DEMANDANTE):

MARYAM HALPERN

 

 

 

ihn You have bean sued. The court may decide against you withoul your being heard unless youyespond within 30 days Read the Informaiion
alow,

You have 30 CALENDAR DAYS aller lhis summons and lege! papers are served on you lo file a wallten respanse al this court and have a copy
servad on the plainlif. A lellet of pane call will nol protect you. Your writlen response must be in proper legal foun it you want the court to hear your
case, There may be a court fore that you can use for your rasponse. You can find these courl forms and more information al he Cattornia Courts
Ontine Sell-Help Canter (wew.courtinfo.ca,gov/sellhelp), your counly lew library, of the courlhouse nearest you. if you cannol pay the filing fae, ask
the courl clerk for a fee waiver form. If you do not file your response on time, you may loge the case by defaull, and your wages, moriey, and properly
may be leken without furlber warning from tie cote,

There are other jegal requiramenis. Yau may wanl to call an altorney daht away. If you do not know an altorney, you may waol lo call an atlomey
rafatral service. Ifyou cannol afford an altorney, your may be aliglole for (ree lagal servigas froma nonprofit legal services program. You cen tocate
ihese nonproft groups al the California Legal Services Webs nile Gvww. lawhelpeulifonive.org), Ine Catitornia Gourls Oniine Self-Help Center
(wane courtinio.ca.goviselhelp), or by contacting your local count or caunly bar association NOTE: The court has a siatulory len for walved (ces end
Costs on any setiemant or arbitralian award of $40,060 6: more Ih a clvl eige. The court's lien mus| be paid before the coun wil digmlas the caso.
abd Lo han demanded. Sf no responde dsniro de 30 dias, la coria puede decidir en au contre ain aacucher su version. Lea Is informacion &
confineacién

Tiene 30 DIAS DE CALENDARIO despuds de que ie entreguun esta cllacian y papeles tegales para presenter ura respuesta por asariin én esta
corte y hacer que se entrayue una opis al demandante. Ling cade @ Use Hamada lalelénion no to protegen, Sa respuesta por escrito (ane que. osti!
en formedo jagal correcio si desea que pracesen su CASO BA le core. E4 posibie que haya un formiario que usted pueda usar pare su respuasia.
Pusde encontrar estos formularios oie ta corfe y mds ialornacion en ef Canto de Ayude de lus Cortes da California feveweucorte.ca.goy), en la
diblioiecn dls layes de su condaco o en In core que te queda Anis cerca, Si ne puede pagat ie cuota de presentecién, pide af secrstario de ia cure

que fe dé un formulate de exencién de paga de cautas Sine presenta sy cespueste a tempo, puede perder Gi use por incumplimienta y fa corte te

pods quifar su suelo, dinero y bienes sin mas sivertaneia
Hay otros requisites legates. Es recomendable que tame aun ahogada inmedistamanie. Sine canoce a wn abogedo, puede Hamar a up Senicis de

remision ¢ abogetios. Si no puede pagar a un abogade, 6s posible que cumpia con los requisilas para ablener servicios legates gratidies de un

programa de servicios legates sin tines de lucta. Fade gacopirar estos Brupos sin fines de lucre ena! silio web de Gablornia Lagud Services,

(veww lavehelpoalifomnia.arg), en ef Conte de Aydin dé fis Cortes de Calilarula, (recew sucorie.ca.goy) @ peaiéndose en contacio con la core o ef

colegio de abogados locales. AVISO: Por ley, ln corre dane derecho & feclainar ins Guoias 9 tas costos Rxenlos por inpaner un grayemea sobre

cusiguier recuperacién de $10,000 o mas de yitior retibida mediante uf acverig o uaa coneesiin de arbltraje en ua case de derecho alvil. Tene qua

pager ef gravamen dé le corte antes de que ta cone pupda degenhar of Cus.

CASE NUMBER:
{Ndmero dal Caso):

 

The name and address of the court is: . . :
(El nombre y direceién da ta corte es): £.0s Angeles County Superior Court

111 North Hill Street Los Angeles CA 90012

 

 

 

The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is: ;
{E} nombre, la diraocién y ef ntznero de teléfono del aboyado del demandante, o del demandante qus no tiene abogado, es):

m Law Firm 26500 W. Agoura Rd., Suite 212 Calabasas CA 91302(818) 785-5999

Jesse L, Halpern The Halpe:

Sherri R. Carter Executive Officer / Clerk of Court
DATE: 02/11/2019 Clark, by : , Deputy
(Fecha) (Secretario) aw __ Ricardo Perez (Adjunta)

(For proof of service of this summons, use Proot of Sarvice of Suownone farm POS-010))
(Pare prueba de enirega de esta citation use ef formulario Proof of Service of Summons, (POS-010)).
.. NOTIGE TO THE PERSON SERVED: You are served

4, [77] as an individual defandant.
2. [77] as the person sued under the fictitious name of (specify)

3. p-¢| on behalf of coeandiVO WV Marcus OROUP, Ine.

under. [><] CCP 416.10 (corporation) COP 416.60 (minor)
[7] CCP 416.20 (defunct corporation) CCP 416.70 (conservaiee)

f"") CCP 416.40 (association or partnership) [""]_ CCP 416.90 (authorized person)
[1] other (specify):

 

   

 

 

 

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etter ere ti annem enn nn en eee ttnnmencnntinenne eee PAOLA
Farm Adopted for Mandatory Use SUMMONS Coda af Civil Procedure §§ 412 20, 465
www, coviinio.ce gov

Judicial Cound of Caltiomis
BUMAG0 [Rav. duly 1, 2005}
